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                        IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

  AIG SPECIALTY INSURANCE                     §       NO: 6:21-CV-04191-RRS-CBW
  COMPANY (f/k/a CHARTIS                      §
  SPECIALTY INSURANCE                         §       JUDGE ROBERT S SUMMERHAYS
  COMPANY                                     §
                                              §       MAG. CAROL B WHITEHURST
                                              §
                                              §
  v.                                          §
                                              §
  KNIGHT OIL TOOLS, INC.                      §
                                              §
                                              §
                                              §



                    ACE AMERICAN INSURANCE COMPANY’S
            MOTION FOR LEAVE TO FILE COMPLAINT-IN-INTERVENTION


         ACE American Insurance Company (“ACE”), as issuer of Commercial General Liability

  Policy No. HDO G24940214 (“Policy”) to Knight Oil Tools, Inc. (“KOT”), moves this Court for

  leave to file the Complaint-in-Intervention against Rippy Oil Company (“Rippy Oil”), attached as

  Exhibit “1.”

         This action was originally commenced by AIG Specialty Insurance Company (f/k/a Chartis

  Specialty Insurance Company), which sought a determination of coverage under its Commercial

  Umbrella Liability Policy issued to Knight Oil Tools, Inc. (“KOT”), for claims arising out of an

  incident on or about May 11, 2010. Because there are common questions of law or fact regarding

  potential coverage under ACE’s own policy issued to KOT, General Liability Policy No. HDO

  G24940214 (“Policy”), ACE seeks leave to intervene as an interested party in the disposition of

  this action. Pursuant to the Federal Declaratory Judgments Act, 28 U.S.C. §§2201 et seq. and Rule



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  57 of the Federal Rules of Civil Procedure, ACE requests a declaration of whether ACE has

  coverage or any obligation to indemnify or defend KOT under the Policy.

         In accordance with Local Rule 7.6, undersigned counsel confirms that he has: (1) presented

  this proposed pleading to all parties who have an interest to oppose; and (2) he is informed that

  Plaintiff opposes the granting of this motion.

         Considering the forgoing, Intervenors pray that this Motion for Leave to File Complaint-

  in-Intervention be granted, and that the clerk be instructed to accept the Complaint-in-Intervention

  for filing and to issue all appropriate process forthwith.

                                                         Respectfully submitted,

                                                         BROWN SIMS, PC


                                          BY: /s/ Thear J. Lemoine
                                                    Thear J. Lemoine (# 26383)
                                                    Gregory M. Burts (#39133)
                                                    1100 Poydras St., 39th Floor
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                                                    gburts@brownsims.com
                                                        Attorneys for ACE American Insurance
                                                        Company



                                       CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing pleading has been served on all counsel of

  record by the court’s electronic notification system, or by fax, email, United States Mail (postage

  prepaid) and/or hand delivery on February 10, 2022.

                                                         /s/ Thear J. Lemoine ___
                                                         Thear J. Lemoine
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                          IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

    AIG SPECIALTY INSURANCE                      §      NO: 6:21-CV-04191-RRS-CBW
    COMPANY (f/k/a CHARTIS                       §
    SPECIALTY INSURANCE                          §      JUDGE ROBERT S SUMMERHAYS
    COMPANY                                      §
                                                 §      MAG. CAROL B WHITEHURST
                                                 §
                                                 §
    v.                                           §
                                                 §
    KNIGHT OIL TOOLS, INC.                       §
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         ACE AMERICAN INSURANCE COMPANY’S COMPLAINT-IN-INTERVENTION
                    AND REQUEST FOR DECLARATORY RELIEF


         TO: The Honorable Judges of the United States District Court,
             Western District of Louisiana

            ACE American Insurance Company (“ACE”) files this Complaint-in-Intervention and

    Request for Declaratory Relief, pursuant to the Federal Declaratory Judgments Act, 28 U.S.C.

    §§2201 et seq. and Rule 57 of the Federal Rules of Civil Procedure. This action was originally

    commenced by AIG Specialty Insurance Company (f/k/a Chartis Specialty Insurance Company),

    which sought a determination of coverage under its Commercial Umbrella Liability Policy issued

    to Knight Oil Tools, Inc. (“KOT”), for claims arising out of an incident on or about May 11, 2010,

    as more fully described below. Because there are common questions of law or fact regarding

    potential coverage under ACE’s own policy issued to KOT, General Liability Policy No. HDO

    G24940214 (“Policy”), ACE sought and received leave to intervene as an interested party in the

    disposition of this action. ACE requests a declaration of whether ACE has coverage or any

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    obligation to indemnify or defend KOT under the Policy. For support, ACE respectfully shows the

    Court the following:

                                                      1.

           An actual case or controversy exists between ACE and Knight Oil Tools, Inc. (“KOT”).

                                                 PARTIES

                                                      2.

       A. Intervenor, ACE American Insurance Company, is a foreign insurance company organized

           under the laws of Pennsylvania with its principle place of business in Philadelphia,

           Pennsylvania.

       B. Defendant-in-Intervention, KOT, was, at all relevant times, organized and incorporated

           under the laws of Louisiana with its principal place of business in Lafayette, Louisiana. At

           all relevant times, KOT conducted business in Louisiana and maintained a registered office

           and principal business establishment in Louisiana.

                                     JURISDICTION AND VENUE

                                                      3.

           This Complaint for Declaratory Relief is brought under 28 U.S.C. §2201 et seq. and Rule

    57 of the Federal Rules of Civil Procedure, for the purpose of determining a question of actual

    controversy between the parties, as hereinafter more fully set forth. This Court has jurisdiction

    over this action pursuant to 28 U.S.C. §1332 based upon the diversity of citizenship between ACE

    and KOT, and the amount in controversy which exceeds $75,000, exclusive of interest and costs.

                                                      4.

           Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because ACE’s Policy was

    issued in the State of Louisiana, and a substantial part of the events or omissions giving rise to the



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    underlying lawsuit occurred in the Western District of Louisiana, where KOT is also domiciled at

    all relevant times.

                             FACTUAL AND PROCEDURAL HISTORY

                                        The Underlying Litigation

                                                      5.

           The lawsuit underlying this Complaint-in-Intervention arises out of the malfunction of a

    drill pipe allegedly sold by KOT to Rippy Oil Company, for use in its Easterling No. 1-H well

    located in Leon County, Texas (“the Well”).

                                                      6.

           Rippy Oil Company, joined by Rippy Interest, LLC, The Genecov Group, Inc., and John

    D. Proctor (collectively, “Rippy Oil”), filed suit on December 28, 2010, in the 12th Judicial District

    Court in Leon, Texas (“the Underlying Litigation”). See, Exhibit A. An Amended Petition was

    subsequently filed by Rippy Oil on October 26, 2016. See, Exhibit B.

                                                      7.

           Rippy Oil alleged in the Underlying Litigation that, on or about May 11, 2010, Pioneer

    Drilling Company was utilizing the drill pipe supplied by KOT on drilling operations on the Well

    when the pipe catastrophically failed, allegedly harming a portion of the Well and preventing its

    economic completion and production of oil reserves.

                                                      8.

           Rippy Oil alleged in the Underlying Litigation that it attempted to mitigate the harm by

    attempting to retrieve the failed pipe, separated drill string, bottom-hole assembly, and drill bit,

    and that, despite these efforts, it “could not reproduce [the Well] with resulting loss of use of well

    bore and hydrocarbon reserves . . .”



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            In the Underlying Litigation, Rippy Oil alleged claims denominated as “negligence and

    negligent misrepresentation”; “strict liability/product liability”; “breach of express warranty of

    goods”; “breach of implied warranty of merchantability and fitness for a particular purpose”;

    “violation of the Texas Deceptive Practices Act”; “gross negligence”; “breach of contract”;

    “fraud”; and “aiding and abetting, civil conspiracy, concert of action, spoliation, and successor

    liability.”

                                                     10.

            In the Underlying Litigation, Rippy Oil quantified damages at cash market value for the

    destruction of the relevant portion of the Well, which was the market value of the Well minus

    salvage value, because reproducing the affected portion of the Well was practically impossible and

    the cost would have exceeded its value. Rippy Oil alternatively sought recovery for the reasonable

    and necessary cost to reproduce the Well if it was found to be reproducible. Rippy Oil also sought

    direct and/or consequential damages, including loss profits, loss of use, loss of the lateral well bore

    and hydrocarbon reserves, additional drilling costs incurred by the drill pipe failure, and the total

    loss of the drill bit, bottom-hole assembly, and other rental equipment lost downhole – all of which

    was allegedly caused by the failure of the drill pipe supplied by KOT. Finally, Rippy Oil also

    sought punitive damages and attorney’s fees.

                          Rippy Oil’s Relief from Automatic Bankruptcy Stay

                                                     11.

            On or about August 8, 2017, KOT filed for Chapter 11 bankruptcy in the United States

    District Court, Western District of Louisiana. Rippy Oil filed for relief from the automatic

    bankruptcy stay, which was granted on October 24, 2017, for the limited purpose of allowing



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    Rippy Oil to pursue its claims against KOT inasmuch as such claims were covered by any of

    KOT’s applicable insurance policies. Pursuant to the Order of the Bankruptcy Court, KOT’s

    liability was limited to the extent of any coverage available under its insurance policies. See,

    Exhibit C.

                                    Underlying Litigation Judgment

                                                    12.

           The Underlying Litigation proceeded to trial by jury on May 1, 2018. After the close of

    evidence at trial on May 10, 2018, the jury issued its verdict finding that KOT had breached its

    contract, breached its implied warranty of fitness for a particular purpose, and negligently

    misrepresented material conditions of the drill pipe. The jury found no fault for the incident on the

    part of Rippy Oil and Gyrodata. See, Exhibit D.

                                                    13.

           The jury also found that the Well was incapable of reproduction and that the reasonable

    and necessary expenses for equipping the Well were $1,500,000. The jury also determined that the

    fair market value of the Well before the pipe failure was $5,900,000 and that its fair market value

    after the failure was $0.00. Finally, the jury found that Rippy Oil failed to pay KOT $361,356.87

    in outstanding invoices.

                                                    14.

           After Rippy Oil filed a Motion for Judgment on June 4, 2018, the court entered a Final

    Judgment against KOT for $5,538,643.13, plus $2,056,855.14 in interest through June 1, 2017, as

    well as an additional $758.72 per day until the day before the final judgment was signed, with

    additional 5% annually compounded post-judgment interest. See, Exhibit E.

                                                    15.



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           KOT filed a Motion to Disregard Certain Jury Findings and for Entry of Judgment and also

    a Motion for New Trial and Alternative Motion for Remittitur on July 3, 2018. See, Exhibit F; see

    also, Exhibit G. None of these motions were granted by the court.

                                                    16.

           KOT appealed the Judgment to the Court of Appeals, Tenth District of Texas, Case No.

    10-18-00284-cv. The appellate court affirmed the trial court’s Judgment on December 30, 2020.

    See, Exhibit H. KOT moved for rehearing which was reaffirmed by the appellate court on

    November 10, 2021. See, Exhibit I.

                                              ACE’s Policy

                                                    17.

           ACE issued Commercial General Liability Policy No. HDO G24940214 to KOT for the

    policy period of March 31, 2010 to March 31, 2011. See, Exhibit J. The terms, conditions and

    exclusions of the ACE Policy are adopted herein by reference.

                                                    18.

           The Policy is subject to a $1,000,000 per occurrence limit with a general aggregate limit

    of $10,000,000 and a product/completed operations aggregate limit of $2,000,000. Pursuant to

    Endorsement No. 2, the Policy is also subject to a $350,000 deductible which is subject to allocated

    loss adjustment expenses.

                                                    19.

           Endorsement 37 of the ACE Policy, which modified Paragraph 1.a. of Section I of the

    Insuring Agreement, states in pertinent part:




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                                                 20.

          Paragraph 1.b. of Section I of the Insuring Agreement provides:




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                                               21.

          The ACE Policy contains the following exclusions:




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                                               22.

              Endorsement 36 also modified the ACE Policy, stating in pertinent part:




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                                               23.

        Additionally, the ACE Policy includes the following definitions:




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                                              24.

         Endorsement 15 changed the ACE Policy by adding a “Professional Liability Exclusion,”

  stating the following:




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                                              25.

         Endorsement 23 changed the ACE Policy by adding a “Professional Liability Exclusion,”

  stating the following:




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                           REQUEST FOR DECLARATORY RELIEF

                                                  26.

         The forgoing provisions, fully incorporated herein by reference, may preclude or limit

  coverage, and ACE avers that a real and justiciable controversy exists between ACE and KOT

  with respect to ACE’s obligations under the Policy.

                                                  27.

         Coverage under the ACE Policy’s Coverage A (Bodily Injury and Property Damage

  Liability) is subject to the Policy’s terms, conditions, exclusions, and endorsements.

                                                  28.

         In pertinent part, the Policy’s insuring agreement requires “bodily injury” or “property

  damage” caused by an “occurrence” or “accident” in order to trigger coverage. To the extent the

  alleged loss fails to meet these requirements, coverage is not triggered.

                                                  29.

         The Policy excludes coverage for “property damage” expected or intended from the

  standpoint of the insured. To the extent KOT expected or intended any property damage, coverage

  is excluded under the ACE Policy.

                                                  30.

         Pursuant to “Exclusion M. Damage to Impaired Property or Property Not Physically

  Injured,” the Policy excludes coverage for claims of “property damage” to “impaired property”

  arising out of a defect in “[KOT’s] product” or of KOT’s failure to perform a contract in

  accordance with its terms. To the extent the alleged loss meets these criteria, Exclusion M is

  triggered and excludes coverage.

                                                  31.



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          By Endorsement No. 15, the ACE Policy excludes coverage for “any damages arising out

  of any professional services, including but not limited to . . . [a]ny accounting, architectural, or

  engineering service.” To the extent the loss arises out of the negligent rendering of professional

  services as defined, coverage is excluded under the ACE Policy.

                                                    32.

          By Endorsement No. 23, the ACE Policy excludes coverage arising out of the “rendering

  of or failure to render any professional services,” including “preparing, approving, or failing to

  prepare or approve, maps, shop drawings, opinions, reports, surveys, field orders, change orders

  or drawings and specifications; and …supervisory, inspection, architectural or engineering

  activities.” To the extent the loss arises out of the negligent rendering of professional services as

  defined, coverage is excluded under the ACE Policy.

                                                    33.

          On informed belief, KOT contends or will contend that the Policy affords coverage for

  these claims.

                                                    34.

          If the ACE Policy provisions set forth above preclude coverage, ACE will have no

  obligation to continue to participate in or pay for KOT’s defense or to indemnify KOT in

  connection with the Judgment entered in in the Underlying Litigation.

                                                    35.

          Nevertheless, ACE advised KOT that it would participate in KOT’s defense, subject to a

  full reservation of rights, including the right to disclaim or deny coverage for the allegations against

  KOT in the Underlying Litigation.




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                                          RELIEF REQUESTED

                                                     36.

             An actual, present and existing controversy has arisen between ACE and KOT with respect

  to the existence and scope of ACE’s indemnity and defense obligations, if any, in connection with

  the Underlying Litigation, making this a justiciable action.

                                                     37.

             ACE is not a party to the Underlying Litigation.

                                                     38.

             ACE seeks a judicial declaration of its rights and duties as to KOT with respect to the

  claims asserted in the Underlying Litigation.

                                                     39.

             The requested declaration will confer certainty on the parties with respect to their rights

  and obligations under ACE’s Policy. Upon presentation of due proof, ACE requests a judgment

  declaring whether there is coverage or coverage is excluded or limited with respect to the claims

  asserted in the Underlying Litigation. The requested declaration would serve the interests of

  justice.

                                                     40.

             In addition to the foregoing provisions, ACE pleads all other conditions, terms, warranties,

  limits, definitions and exclusions of the Policy or other insurance policies or contracts which may

  be applicable, and reserves the right to amend its Complaint-in-Intervention for Declaratory

  Judgment as additional and/or more specific information becomes available.

             Considering the forgoing, ACE prays for declaratory judgment as follows:




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     1. Whether ACE American Insurance Company Commercial General Liability Policy No.

         HDO G24940214 affords insurance coverage or coverage is excluded or limited for the

         matters asserted in the Underlying Litigation.

     2. Whether ACE has a defense or indemnity obligation to KOT in connection with the

         Underlying Litigation.

     3. For all such other and further relief as equity and the justice of this cause may require and

         permit, including attorney’s fees and costs, to the extent permitted by law.

                                                        Respectfully submitted,

                                                        BROWN SIMS, PC


                                           BY: /s/ Thear J. Lemoine
                                                    Thear J. Lemoine (# 26383)
                                                    Gregory M. Burts (#39133)
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                                                       gburts@brownsims.com
                                                     Attorneys for ACE American Insurance
                                                     Company


                                      CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing pleading has been served on all counsel of

  record by the court’s electronic notification system, or by fax, email, United States Mail (postage

  prepaid) and/or hand delivery on February 10, 2022.

                                                        /s/ Thear J. Lemoine      ___
                                                        Thear J. Lemoine




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  RIPPY OIL COMPANY,RIPPY INTEREST §                         IN THE DISTRICT COURT OF
  LLC,THE GENECOV GROUP,INC., And  §
  JOHN D.PROCTOR,                  §

         PLAINTIFFS                              §

  VS.                                            §           LEON COUNTY,TEXAS

  KNIGHT OIL TOOLS,INC., And                     §
  PIONEER DRILLING COMPANY,                      §

         DEFENDANTS                              §            278`h JUDICIAL DISTRICT

                  PLAINTIFFS' FIRST AMENDED ORIGINAL PETITION

  TO THE HONORABLE JUDGE OF SAID COURT:

         COME NOW,RIPPY OIL COMPANY("RIPPY OIL")on its own behalf, and on behalfof

  all working interest owners,to-wit: Rippy Interest LLC;and The Genecov Group,Inc., and John D.

  Proctor(hereinafter sometimes referred to as Plaintiffs)complaining ofKNIGHT OIL TOOLS,INC.

  now known as Knight Oil Tools LLC ("KNIGHT OIL TOOLS") and PIONEER DRILLING

  COMPANY("PIONEER")hereinafter sometimes referred to as Defendants,and for cause ofaction,

  would show the Court the following:

                                                 I.

                                        DISCOVERY PLAN

         Plaintiffs request that the discovery in this case be conducted under Leve13.

                                                II.

                                             PARTIES




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         Plaintiff, RIPPY OIL, is a Texas corporation with its principal place of business in Tyler,

 Smith County, Texas. Rippy Oil brings suit on its own behalf and on behalf of all working interest

 owners, to-wit: Rippy Interest LLC; The Genecov Group,Inc., and John Procter.

        Plaintiff, RIPPY INTEREST LLC, is a Texas limited liability company with its principal

 place of business in Tyler, Smith County, Texas.

        Plaintiff, THE GENECOV GROUP,INC.,is a Texas corporation with its principal place of

 business in Tyler, Smith County, Texas.

        Plaintiff, John D. Proctor, is an individual residing in Tyler, Smith County, Texas.

        Defendant, KNIGHT OIL TOOLS, INC., now KNIGHT OIL TOOLS LLC,(Knight Oil

 Tools) is a Louisiana corporation and now a limited liability company authorized by the Texas

 Secretary ofState to do business in Texas and doing business in Texas. Knight Oil Tools' principal

 place of business in Texas is Houston, Harris County, Texas. Knight Oil Tools can be served with

 process by serving its registered agent Timothy R. Brown at 333 Clay Street, Suite 3300, Houston,

 Texas 77002. Defendant Knight Oil Tools,Inc has made an appearance and is being served with this

 First Amended Petition by serving its attorney of record.

        Defendant, PIONEER DRILLING COMPANY,(Pioneer Drilling) is a Texas corporation

 with its principal place ofbusiness in Texas and can be served with process by serving its registered

 agent CT Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas, Dallas County, Texas

 75201. Defendant Pioneer Drilling Company has made an appearance and is being served with this

 First Amended Petition by serving its attorney of record.




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                                   JURISDICTION AND VENUE

         This Court has jurisdiction over the subject matter of this lawsuit because the amount in

 controversy is in excess of the minimal jurisdictional limits of the Court. The Court has personal

 jurisdiction over Defendants, because they have purposely availed themselves ofthe privileges and

 benefits of conducting business in Texas pursuant to §17.042 of the Texas Civil Practice &

 Remedies Code,have engaged in business in Texas by providing services to Texas residents, which

 services were to be performed in whole or in part in Texas, and the cause of action made the basis

 of this suit arises out of Defendants' contacts with and in the state of Texas.

         Venue is proper in Leon County,Texas pursuant to the provisions of§§ 15.001, 15.002(a)(1)

 ofthe Texas Civil Practice &Remedies Code because Leon County is the county in which all or a

  substantial part of the events or omissions giving rise to the claim occurred.

                                                  ~i~


                                       FACTUAL SUMMARY

         At all times mentioned below,Plaintiff Rippy Oil Company was,and is now,engaged in the

  oil and gas business, including the exploration, drilling, and production of hydrocarbons.

         At all times mentioned below, Defendant Knight Oil Tools was,and is now,engaged in the

  business ofproviding drilling services including supplying drill pipe and inspection services through

  its wholly owned,supervised,and captured in-house inspection division Robinson Tubular Services

 Inc., a Knight Oil Tools company,which merged effective Apri14,2011 into Knight Oil Tools LLC

 the successor in interest to Knight Oil Tools Inc. which was also merged into Knight Oil Tools LLC

  in Apri12011. Knight Oil Tools LLC assumed all liabilities and obligations of Robinson Tubular
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 Services Inc. and Knight Oil Tools Inc. in Apri12011 including liabilities for the drill pipe failure

 made the basis of this lawsuit.

         At all times mentioned below, Defendant Pioneer Drilling was, and is now, engaged in the

 business of providing drilling services including the use of drill pipe.

         Heretofore, Defendants provided Plaintiff certain drilling services, sales, and rentals

 including the supplying and rental ofdrill pipe by Defendant Knight Oil Tools for which Defendants

 have invoiced Plaintiffs in excess of the minimum jurisdictional limits of this Court. Plaintiffs

 sought the drilling services and drill pipe for use in their well known as the Easterling No. 1-H well

 located in Leon County, Texas. The Easterling No. 1-H well was one of the first of a multi-well

 program planned for the Aguila Vado (Eagleford Shale) Field discovered by Rippy Oil Company

 which comprised approximately 14,000 acres in Leon County.Plaintiffs acquired its mineral acreage

 at an average cost well below the mineral acreage costs subsequent to Plaintiffs successful discover

 ofthe Aguila Vado Field.

         The drill pipe supplied and delivered by Defendant Knight Oil Tools to Plaintiffs for

 utilization by drilling contractor, Defendant Pioneer Drilling, was represented to be API inspected,

 API Premium Class, 3 /
                      1 2" O.D. 13.30-PPF Grade S-13S drill pipe with API Premium Class IF or



 NC38 tooljoints designated by center punch mark on pin upset and two white bands around pin end

 pipe body and accompanying inspection report(hereinafter "drill pipe" or "drill pipe in question"),

 that was safe, suitable, and fit for use in the horizontal drilling of Plaintiffs' well. Indeed, after

 allegedly performing the appropriate API inspection pursuant to API Recommended Practice 7G

 and/or 7G - 2, Defendant Knight Oil Tools marked the drill pipe in question as API Premium with

 one center punch and two painted double white bands only and no other color paint band or bands
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 on the drill pipe tooljoint. Defendant Knight Oil Tools also represented that drill pipe including tool

 joints had been inspected. Drill pipe marked with one center punch and painted with two double

  white bands conveys a well established industry representation to users of drill pipe in the oil and

  gas business that the drill pipe including tool joints, has been inspected and found to be API

 Premium Class. Defendant Knight Oil Tools knew or in the exercise of ordinary care should have

  known that one center punch and two painted double white bands conveyed and represented to the

  user that the drill pipe in question was API inspected and API Premium Class and met certain

  qualities, characteristics, and capacities that made the drill pipe suitable for use in drilling horizontal

  wells. Defendant Knight Oil Tools knew that Plaintiffs' drilling consultant and Defendant Pioneer

  Drilling would be relying on the one center punch and/or double white bands and accompanying

  inspection papers as a representation that the drill pipe in question was API inspected and API

  premium class drill pipe,that was safe,suitable,and fit for use in the horizontal drilling ofPlaintiffs'

  well.

          At the time the drill pipe was distributed and supplied, Defendants knew or had reason to

  know the purpose for which Plaintiffs sought the drill pipe and drilling services and that Plaintiffs

  were relying on Defendants to furnish drill pipe and drilling services suitable and fit for that purpose.

          On or about May 11, 2010, Defendant Pioneer Drilling was utilizing the drill pipe supplied

  and represented to have been API inspected and API Premium Class by Defendant Knight Oil Tools

  during normal drilling operations and well within the capacity ofAPI Premium Class drill pipe. The

  drill pipe was being utilized well within the capacity, capabilities, and operating parameters of API

  Premium Class drill pipe, when the drill pipe supplied by Defendant Knight Oil Tools

  catastrophically failed, destroying a valuable portion ofthe Easterling No. 1-H well which prevented


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 its completion and subsequent production of oil reserves from the target intervals Plaintiffs had

 successfully penetrated with the Easterling No. 1-H well bore. Plaintiffs made every effort to

  mitigate their damages by attempting to fish the failed drill pipe, separated drill pipe string, bottom-

  hole assembly,and drill bit damaged and lost in the hole after notifying Defendant Knight Oil Tools

  ofthe drill pipe failure. Despite efforts to salvage same,Plaintiffs could not reproduce the Easterling

  No. 1-H well with resulting loss of well bore and hydrocarbon reserves, and drilling equipment

  damaged and lost down hole and charged to Plaintiffs, all of which caused Plaintiffs to suffer

  damages set forth below in excess ofthe minimum jurisdictional limits of this Court.

                                                    \~~

                    NEGLIGENCE AND NEGLIGENT MISREPRESENTATION

          Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under "Factual

  Summary." Defendants were negligent in the selection, inspection, labeling, marking, distribution,

  representation, and use ofthe drill pipe in question. Defendants' negligence was a proximate cause

  of Plaintiffs' damages. Discovery is continuing, and Plaintiffs cannot more specifically allege the

  specific acts of negligent inspection, distribution, representation, and utilization ofthe drill pipe in

  question on the part ofDefendants at this time because facts in that regard are particularly within the

  knowledge of Defendant Knight Oil Tools before delivery ofthe drill pipe(and after its return)and

  Defendant Pioneer Drilling after delivery ofthe drill pipe to the Easterling No. 1-H well-site. In the

  alternative, in the event Plaintiffs are unable to prove specific acts of negligent inspection,

  distribution,representation,and utilization ofthe drill pipe in question,Plaintiffs rely on the doctrine

  ofres ipsa loquituN. In this connection, Plaintiffs would show that the character ofthe occurrence

  giving rise to this litigation is such that it would not have happened in the absence ofnegligence, and


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 the inspection, supply, distribution, representation, and use ofthe drill pipe in question was within

 the exclusive control of Defendants at the time the negligence probably occurred.

         Additionally, Defendant Knight Oil Tools initially represented that it would supply API

 inspected, API Premium Class drill pipe to Plaintiffs. Defendant Knight Oil Tools undertook to

 obtain and provide API inspected and API Premium Class drill pipe. Defendant Knight Oil Tools

 failed to exercise reasonable care to secure API inspected and API Premium Class drill pipe,that was

 safe, suitable, and fit for use in the horizontal drilling of Plaintiffs' well. Indeed, the drill pipe

 supplied by Defendant Knight Oil Tools was not properly API inspected or labeled, was not API

 Premium Class, had undersized O.D. and I.D. tool joints that also exceeded maximum I.D. for API

 Premium Class drill pipe, and was excessively worn,corroded, pitted, and cracked before it arrived

 at the Easterling No. 1-H well-site which rendered the drill pipe unsafe, unsuitable, and unfit for the

 use of the horizontal drilling of Plaintiffs' well. Defendant Knight Oil Tools knowingly supplied

 Plaintiffs with false and/or misleading information,including but not limited to,the fact that the drill

  pipe was API inspected and API Premium Class as signified by the false inspection papers, one

 center punch mark,and painted double white bands on each joint of drill pipe delivered to the well-

  site including the drill pipe that failed. Plaintiffs relied on the representation and undertaking by

  Defendant Knight Oil Tools in using the drill pipe. Defendant Knight Oil Tools did not exercise

 reasonable care or competence in selecting, inspecting, marking, labeling, representing, or

  communicating information about the drill pipe. If the drill pipe had been as represented by

  Defendant Knight Oil Tools,Plaintiffs would not have suffered the damages Plaintiffs suffered. The

  negligence and negligent misrepresentation of Knight Oil Tools in this regard and to be proved at

  trial was a proximate cause of Plaintiffs' damages.


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          Moreover,Defendant Pioneer Drilling undertook to visually inspect the drill pipe in question

  before using same and to notify Plaintiffs of any apparent defects therein. Defendant Pioneer

  Drilling failed to notify Plaintiffs ofany visual defects in the drill pipe in question until after the drill

  pipe had failed in the well. After the drill pipe failure, it was determined that the drill pipe supplied

  by Defendant Knight Oil Tools was not properly API inspected or labeled, was not API Premium

  Class, had undersized O.D. and I.D. tool joints that also exceeded the maximum I.D. for API

  Premium Class drill pipe and was excessively worn, corroded, pitted, and cracked which rendered

  the drill pipe unsafe, unsuitable, and unfit for use in the horizontal drilling of Plaintiffs' well.

  Defendant Pioneer Drilling represented that it would perform a visual inspection ofthe drill pipe in

  question. Plaintiffs relied on the representation and undertaking by Defendant Pioneer Drilling. If

  Defendant Pioneer had discharged its representation and undertaking, Plaintiffs would not have

  suffered the damages Plaintiffs suffered. Defendant Pioneer Drilling's negligence and negligent

  misrepresentation in this regard was a proximate cause of Plaintiffs' damages including amounts

  Defendant Knight Oil Tools seeks to recover from Plaintiffs.

          Defendants' negligence and negligent misrepresentation as set out above was a proximate

  cause of injury to Plaintiffs, which resulted in the following damages: cash market value damages

  for destruction ofthat portion ofthe Easterling No. 1-H well which is the market value ofthe well

  less any salvage value, because reproducing that portion ofthe well is impossible and the cost would

  exceed its value due to the irreparable damage occasioned to that portion of the well. In the

  alternative, should the trier of fact find that the Easterling No. 1-H well could be reproduced,

  Plaintiffs are entitled to recover the reasonable and necessary cost to reproduce the Easterling No.

  1-H well. Additionally,Defendants' negligence and negligent misrepresentation proximately caused
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 direct and/or consequential damages including the loss of the Easterling No. 1-H lateral well bore

 and hydrocarbon reserves,the additional drilling costs incurred following the drill pipe separation,

 and the total loss of the drill bit, bottom-hole assembly, and other rental equipment lost down hole

 all of which damages were legally caused by the drill pipe failure and Defendants' breach of legal

 duties owed Plaintiffs.

                                                  VI.

                            STRICT LIABILITY/ PRODUCT LIABILITY

         Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under "Factual

  Summary," and the causes of action asserted in Paragraph V under "Negligence and Negligent

  Misrepresentation."

         Defendant Knight Oil Tools engaged in the business of designing, manufacturing,

  constructing, rebuilding, fabricating, processing, assembling, and marketing drill pipe for use (by

  drilling contractors, mineral interest owners, and operators) in drilling oil and gas wells including

  lateral on horizontal wells.

         The drill pipe in question that was placed in the stream of commerce and distributed by

  Defendant Knight Oil Tools was defective and unsafe for its intended purpose at the time it left the

  control of Defendant Knight Oil Tools and at the time it was delivered to Plaintiffs' well-site. The

  drill pipe in question was defective in that it failed to conform to its design, specifications, and

  represented qualities and characteristics, was not properly API inspected or labeled, was not API

  Premium Class, had undersized O.D. and I.D. tool joints that also exceeded the maximum I.D. for

  API Premium Class drill pipe and was excessively worn, corroded, pitted, and cracked which

  rendered the drill pipe unsafe, unsuitable, unfit, and unreasonably dangerous for use in drilling of


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  Plaintiffs' well. The drill pipe in question was in the same or substantially same condition at the time

  it failed as it was when it was originally distributed by Defendant Knight Oil Tools to the Easterling

  No. 1-H well-site. Defendant Knight Oil Tools' defective drill pipe was the producing cause of

  Plaintiffs' damages: cash market value damages for destruction ofthat portion ofthe Easterling No.

  1-H well which is the market value of the well less any salvage value, because reproducing that

  portion ofthe well is impossible and the cost would exceed its value due to the irreparable damage

  occasioned to that portion of the well. In the alternative, should the trier of fact find that the

  Easterling No. 1-H well could be reproduced, Plaintiffs are entitled to recover the reasonable and

  necessary cost to reproduce the Easterling No. 1-H well. Additionally, Defendants' negligence and

  negligent misrepresentation proximately caused direct and/or consequential damages including the

  loss ofthe Easterling No. l-H lateral well bore and hydrocarbon reserves,the additional drilling costs

  incurred following the drill pipe separation, and the total loss ofthe drill bit, bottom-hole assembly,

  and other rental equipment lost down hole all of which damages were legally caused by the drill pipe

  failure and Defendants' breach of legal duties owed Plaintiffs.

          Moreover,although Defendant Knight Oil Tools was notthe manufacturer ofthe drilling pipe

  in question, Defendant Knight Oil Tools is a "manufacturer" as defined by § 82.001(4) and is

  nevertheless liable for product liability under Chapter 82 of the Texas Civil Practice &Remedy

  Codes as a "seller" pursuant to § 82.001(3). Specifically, Defendant Knight Oil Tools as seller is

  liable to Plaintiffs pursuant to § 82.003(a)(2),(4),(5),(6) and (7).




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                                                  VI.

                         BREACH OF EXPRESS WARRANTY OF GOODS

         Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

  "Factual Summary." Defendant Knight Oil Tools distributed, sold, rented, and/or otherwise

  placed in the stream of commerce for commercial purposes and use by Plaintiffs the above-

  described drill pipe. Defendant Knight Oil Tools made a representation to Plaintiffs about the

  quality of the drill pipe. Specifically, Defendant Knight Oil Tools represented that the drill pipe

  supplied and utilized in drilling the Easterling No. 1-H well was API inspected, API Premium

  Class drill pipe that was safe, suitable, and fit for use in the horizontal drilling of Plaintiffs' well.

  Among other representations, Defendant Knight Oil Tools marked the drill pipe and distributed

  same with one center punch mark and double white painted bands only. Defendant Knight Oil

  Tools also presented a false inspection report with delivery of the drill pipe.

          Defendant Knight Oil Tools made the representation as an affirmation of fact. Moreover,

  Defendant Knight Oil Tools possessed superior knowledge and it is an actionable statement of

  fact when made, as it was here, by Defendant Knight Oil Tools who knew, or should have

  known, Plaintiffs were justifiably relying on its superior knowledge. The drill pipe did not

  comply with Defendant Knight Oil Tools' representations in that the drill pipe was not properly

  API inspected or labeled and was not API Premium Class, but instead had undersized O.D. and

  I.D. tool joints that also exceed the maximum I.D. and was excessively worn, corroded, pitted,

  and cracked, which was a breach of Defendant Knight Oil Tools' express warranty. Plaintiffs

  notified Defendant Knight Oil Tools ofthe breach of the express warranty.




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         Defendants' breach of warranty directly and proximately caused injury to Plaintiffs,

  which resulted in the following damages: cash market value damages for destruction of that

  portion ofthe Easterling No. 1-H well which is the market value of the well less any salvage

  value, because reproducing that portion ofthe well is impossible and the cost would exceed its

  value due to the irreparable damage occasioned to that portion of the well. In the alternative,

  should the trier of fact find that the Easterling No. 1-H well could be reproduced, Plaintiffs are

  entitled to recover the reasonable and necessary cost to reproduce the Easterling No. 1-H well.

  Additionally, Defendants' breach of warranty proximately caused direct and/or consequential

  damages including the loss ofthe Easterling No. 1-H lateral well bore, hydrocarbon reserves, the

  additional drilling costs incurred following the drill pipe separation, and the total loss ofthe drill

  bit, bottom-hole assembly, and other rental equipment lost down hole all of which damages were

  legally caused by the drill pipe failure and Defendant Knight Oil Tools' breach of express

  warranty.

                                                   VII.

              BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY AND
                        FITNESS FOR A PARTICULAR PURPOSE

          Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

  "Factual Summary". In the alternative, Plaintiffs would show that Defendant Knight Oil Tools

  was a seller and distributor of the drill pipe rented and distributed to Plaintiffs.

          The drill pipe was unmerchantable when Defendants tendered it to Plaintiffs because it

  was not properly API inspected or labeled and was not API Premium Class, but instead had

  undersized O.D. and I.D. tool joints, that also exceeded the maximum I.D. for API Premium,.



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  Class drill pipe and was excessively worn, corroded, pitted, and cracked, to the extent that it

  would not withstand customary drilling activity, with the operational capacity of API Premium

  Class drill pipe, which is a breach of implied warranty of merchantability.

         Plaintiffs notified Defendants of the breach of the warranty of merchantability.

         Defendants' breach of implied warranty of merchantability directly and proximately

  caused injury to Plaintiffs, which resulted in the following damages: cash market value damages

  for destruction ofthat portion of the Easterling No. 1-H well, which is the market value ofthe

  well less any salvage value, because reproducing that portion of the well is impossible and the

  cost would exceed its value due to the irreparable damage occasioned to that portion of the well.

  In the alternative, should the trier of fact find that the Easterling No. 1-H well could be

  reproduced, Plaintiffs are entitled to recover the reasonable and necessary cost to reproduce the

  Easterling No. 1-H well. Additionally, Defendants' breach of warranty proximately caused direct

  and/or consequential damages to include the loss of the Easterling No. 1-H lateral well bore,

  hydrocarbon reserves, the additional drilling costs incurred following the drill pipe separation,

  and the total loss ofthe drill bit, bottom-hole assembly, and other rental equipment lost down

  hole all of which damages were legally caused by the drill pipe failure and Defendant Knight Oil

  Tools' breach of warranty.

          Further, Defendant Knight Oil Tools distributed the drill pipe in question knowing that

  Plaintiffs sought the drill pipe for use in drilling its well. Defendant Knight Oil Tools knew that

  Plaintiffs were relying on Defendant Knight Oil Tools' skill or judgment to select, inspect, and

  classify drill pipe fit for API Premium Class designation, identified by one center punch and

  double white bands, for the intended purpose. Defendants delivered and utilized drill pipe that


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  was not properly API inspected and labeled; was not API Premium Class as noted above; was not

  acceptable or worthy to receive one center punch and be painted with double white bands only;

  and was so defective and flawed because of excessive wear, corrosion, pitting, and cracking that

  the drill pipe was unfit for use in any drilling including horizontal drilling.

          Plaintiffs notified Defendants ofthe breach ofthe warranty of fitness for a particular

  purpose.

          Defendants' breach of implied warranty of fitness for a particular purpose directly and

  proximately caused injury to Plaintiffs, which resulted in the following damages:

          Cash market value damages for destruction of that portion of the Easterling No. 1-H we11      1




  which is the market value of the well less any salvage value, because reproducing that portion of

  the well is impossible and the cost would exceed its value due to the irreparable damage

  occasioned to that portion of the well. In the alternative, should the trier of fact find that the

  Easterling No. 1-H well could be reproduced, Plaintiffs are entitled to recover the reasonable and

  necessary cost to reproduce the Easterling No. 1-H well. Additionally, Defendant Knight Qil

  Tools' breach caused direct and/or consequential damages to include the loss of the Easterling

  No. 1-H lateral well bore and hydrocarbon reserves, the additional drilling costs incurred

  following the drill pipe separation, and the total loss of the drill bit, bottom-hole assembly, and

  other rental equipment lost down hole all of which damages were legally caused by the drill pipe

  failure and Defendant Knight Oil Tools' breach of warranty of merchantability and fitness for a

   particular purpose.




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                                                  VIII.

              VIOLATION OF THE TEXAS DECEPTIVE TRADE PRACTICES ACT

         Plaintiffs incorporate herein by reference the factual allegations contained in the

  preceding Paragraphs V, VI, VII, as well as those allegations set forth in Paragraph IV under

  "Factual Summary".

         Defendant Knight Oil Tools engaged in certain false, misleading and deceptive acts,

  practices and/or omissions actionable under the Texas Deceptive Trade Practices -Consumer

  Protection Act(Tex. Bus. &Comm.Code § 17.41 et. seq.) as alleged herein.

         Defendants violated § 17.46(b) of the Texas Business &Commerce Code in that

  Defendants:

         a.      represented that goods (drill pipe) were of a particular standard, quality or grade,
                 or that goods are of a particular style or model ,when they are of another;

         b.      represented that goods (drill pipe) had approval, characteristics or uses that they
                 did have not have;

         c.      failed to disclose information about goods (drill pipe)that was known at the time
                 of the transaction with the intention to induce Plaintiff into a transaction it
                 otherwise would not have entered into if the information had been disclosed for
                 the benefit of others, including the Plaintiffs;

         d.      caused confusion or misunderstanding as to the source, sponsorship, approval or
                 certification of goods or services. (drill pipe and inspection of same).

          As described above in Paragraphs V, VI, and VII, these acts, practices and/or omissions

  by Defendant Knight Oil Tools were false, misleading and deceptive. As previously described,

  Plaintiffs relied upon all of these acts, practices, and/or omissions to their detriment, and they

  were a producing cause of damages to Plaintiffs.




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         Moreover, Defendant Knight Oil Tools have violated Texas Business &Commerce Code

  § 17.50 by breaching the express and implied warranties described above in Paragraphs VI and

  VII.

         The acts, practices, and/or omissions made by Defendant Knight Oil Tools and the

  warranties breached by Defendant Knight Oil Tools were a producing cause of Plaintiffs'

  damages in an amount in excess of the minimum jurisdictional limits of this Court.

         The acts, practices and/or omissions made by Defendant Knight Oil Tools as described

  above were committed knowingly. Defendant Knight Oil Tools was actually aware, at the time

  of their conduct, of the falsity and deception about which Plaintiffs are complaining. Moreover,

  Defendant Knight Oil Tools were aware ofthe conditions, defects or failures which constitute the

  breaches of warranties described above.

         Plaintiffs would further assert the applicability of Section 17.42 ofthe Texas Business

  and Commerce Code and that any attempt by Defendant Knight Oil Tools to assert waiver

  release, limitation of liability, indemnity, or other alleged exculpatory defenses are contrary to

  public policy, unenforceable, and void.

          Defendant Knight Oil Tools' violation of the Texas Deceptive Trade Practices Act was a

  proximate and/or producing cause of injury to Plaintiffs which resulted in the following damages:

  cash market value damages for destruction of that portion ofthe Easterling No. 1-H well which is

  the market value of the well less any salvage value, because reproducing that portion of the well

  is impossible and the cost would exceed its value due to the irreparable damage occasioned to

  that portion of the well. In the alternative, should the trier of fact find that the Easterling No. 1-H

  well could be reproduced, Plaintiffs are entitled to recover the reasonable and necessary cost to


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  reproduce the Easterling No. 1-H well. Additionally, Defendants' violation of the Texas

  Deceptive Trade Practices Act was a producing and/or proximate cause of direct and/or

  consequential damages including the loss of the Easterling No. 1-H lateral well bore and

  hydrocarbon reserves, the additional drilling costs incurred following the drill pipe separation,

  and the total loss of the drill bit, bottom-hole assembly, and other rental equipment lost down

  hole all of which damages were legally caused by the drill pipe failure and Defendant Knight Oil

  Tools' violations of the Texas Deceptive Trade Practices Act.

                                                  IX.

                                        GROSS NEGLIGENCE

          Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

  "Factual Summary" and Paragraph V under "Negligence and Negligent Misrepresentation."

          Plaintiffs would further show that the conduct of Defendants when viewed objectively

  from Defendants' stand point at the time of the conduct, involved an extreme degree of risk,

  considering the probability and magnitude ofthe potential harm to others, and Defendants were

  actually, subjectively aware of the risk involved, but nevertheless proceeding with conscious

  indifference to the rights, safety, or welfare of others. As a result of Defendants' gross

  negligence, Plaintiffs are entitled to punitive and/or exemplary damages pursuant to Chapter 41

  of the Texas Civil Practice &Remedies Code. Moreover, exemplary damages are not capped in

  this case as Defendant Knight Oil Tools violated § 41.008(c)(11) ofthe Texas Civil Practice &

   Remedies Code and § 32.46 of the Texas Penal Code by securing execution of a document by

   deception.




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                                      BREACH OF CONTRACT

         Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

  "Factual Summary." In the alternative, and without waiving the causes of action plead above in

  Paragraphs V, VI, VII, VIII, and IX, Plaintiffs would assert that Defendant Knight Oil Tools and

  Defendant Pioneer Drilling agreed to provide certain drilling goods and/or services, including the

  supplying of drill pipe represented to be API inspected and API Premium Class drill pipe. The

  drill pipe in question failed under normal and customary drilling activity within the represented

  capacity of API Premium Class drill pipe. Defendants knew that Plaintiffs were relying on

  Defendants' skill or judgment to properly select, inspect, label, represent, and deliver drill pipe

  fit for the intended purpose. Defendants selected, inspected, labeled, delivered, represented, and

  utilized drill pipe that was not API inspected; was not API Premium Class; was misrepresented

  as double white band with one center punch mark when in fact it had undersized O.D. and I.D.

  tool joints, that also exceeded the maximum I.D. for API Premium Class pipe and was so

  excessively worn, corroded, pitted, and cracked that the drill pipe was unfit for use in horizontal

  drilling and should never have been marked with one center punch mark and painted as double

  white band API Premium Class drill pipe and delivered to the Easterling well-site. Defendants

  breached its agreement with Plaintiffs. As a proximate cause of said breach, Plaintiffs have been

  damaged in excess of the minimum jurisdictional limits of this Court including: cash market

  value damages for destruction ofthat portion of the Easterling No. 1-H well which is the market

  value of the well less any salvage value, because reproducing that portion ofthe well is

  impossible and the cost would exceed its value due to the irreparable damage occasioned to that


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  portion of the well. In the alternative, should the trier of fact find that the Easterling No. 1-H well

  could be reproduced, Plaintiffs are entitled to recover the reasonable and necessary cost to

  reproduce the Easterling No. 1-H well. Additionally, Defendants' breach of contract proximately

  caused direct and/or consequential damages including the loss of the Easterling No. 1-H lateral

  well bore and hydrocarbon reserves, the additional drilling costs incurred following the drill pipe

  separation, and the total loss ofthe drill bit, bottom-hole assembly, and other rental equipment

  lost down hole all of which damages were legally caused by the drill pipe failure and Defendant

  Knight Oil Tools' breach of contract.

                                                    XI.

                                                  '~~~

          Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

  "Factual Summary" and Paragraphs VII, VIII, and IX. Defendant Knight Oil Tools made false

  representations by representing that the drill pipe was API inspected and by classifying the drill

  pipe in question as API Premium Class. Moreover, Defendant Knight Oil Tools fraudulently

  represented the drill pipe was API Premium Class by use of one center punch mark and double

  white bands only on each joint drill pipe delivered to the Easterling No. 1-H well site

  accompanied by a false inspection report when in fact the drill pipe in question was not API

  Premium Class and could not be classified as API Premium Class. These representations were

  material and false in that had the drill pipe been properly inspected and marked it would not have

  been classified API premium and marked with one center punch mark and painted with a double

  white band only. When Defendant, Knight Oil Tools, made this representation, they knew the

  representation was false or made the representation recklessly, as a positive assertion, without


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  knowledge of its truth. Likewise, Defendant Knight Oil Tools made the representation with the

  intent that Plaintiffs act on it. Plaintiffs relied on the representations to their detriment in that

  had the drill pipe in question been properly inspected and classified it would not have been

  marked with one center punch mark and double white bands only or otherwise accompanied by a

  false inspection report and would not have been used in the drilling of Plaintiffs' well. As a

  proximate cause of Defendants' fraud, Plaintiffs have been damaged in excess ofthe minimal

  jurisdictional limits of this Court including: cash market value damages for destruction of that

  portion of the Easterling No. 1-H well which is the market value of the well less any salvage

  value, because reproducing that portion of the well is impossible and the cost would exceed its

  value due to the irreparable damage occasioned to that portion ofthe well. In the alternative,

  should the trier of fact find that the Easterling No. 1-H well could be reproduced, Plaintiffs are

  entitled to recover the reasonable and necessary cost to reproduce the Easterling No. 1-H well.

  Additionally, Defendants' fraud proximately caused direct and/or consequential damages

  including the loss of the Easterling No. 1-H lateral well bore and hydrocarbon reserves, the

  additional drilling costs incurred following the drill pipe separation, and the total loss ofthe drill

  bit, bottom-hole assembly, and other rental equipment lost down hole all of which damages were

  legally caused by the drill pipe failure and Defendant Knight Oil Tools' fraud.

                                                     XII.

                          AIDING AND ABETTING CIVIL CONSPIRACY

              CONCERT OF ACTION SPOLIATION AND SUCCESSOR LIABILITY

          Defendant Knight Oil Tools, and its employees, agents, and representatives had a duty to

  exercise reasonable care and judgment in its inspection of the drill pipe in question to ensure it
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  complied with API specifications including API Recommended Practice 7G or 7G-2 or other

  applicable industry guidelines for certifying API Premium Class drill pipe that would be safe,

  suitable or fit for the use as intended. Defendant Knight Oil Tools failed to exercise reasonable

  care and judgment in the selection, assessment, evaluation, inspection, and representations ofthe

  condition of the drill pipe in question. As a result, Defendant Knight Oil Tools delivered

  excessively worn, corroded, pitted, and cracked drill pipe that was negligently, falsely,

  fraudulently, and/or deceptively marked as API Premium Class drill pipe when it was not API

  Premium Class and should have never been delivered to the Easterling No. 1-H drill site.

  Moreover, Defendant Knight Oil Tools measured and recorded minimum O.D .numbers on

  numerous joints of drill pipe including the joint of drill pipe that failed which did not meet O.D.

  minimums or I.D. maximums for tool joints required by API Premium Class certification and

  industry standards. Further, had Defendant Knight Oil Tools properly performed a standard API

  Recommended Practice 7G or 7G-2 inspection, the drill pipe that failed would not have been

  classified as API Premium Class, would have been accompanied by proper inspection papers

  instead of the false inspection report that was delivered, and would not have been used in the

  Easterling No. 1-H well. Despite failing to perform the API recommended practice 7G or 7G-2

  inspection, Robinson Tubular Services, Defendant Knight Oil Tools' wholly owned, controlled,

  and supervised in-house inspection service, which was not an independent third party inspection

  service, with Defendant Knight Oil Tools knowledge, approval, and ratification, nevertheless,

  placed one center punch mark on pin upset and painted double white bands on the drill pipe in

  question representing to all foreseeable users that the drill pipe was API Premium Class when it

  was not. Plaintiffs believe that Defendant Knight Oil Tools and its wholly owned, controlled, and


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  supervised in-house inspection service Robinson Tubular Services, a Knight Oil Tools company,

  which was merged into Knight Oil Tools LLC in Apri12011, entered into an agreement to

  misrepresent a mixed string of different weight, worn out, corroded, pitted, and cracked drill

  pipe, as API inspected, API Premium Class, utilizing one center punch mark and double white

  bands only, when in fact the drill pipe in question was not fit to be classified as API Premium

  Class, double white banded drill pipe. Following its failure, Defendant Knight Oil Tools has

  conspired to cover up the evidence that the drill pipe in question was not API inspected, API

  Premium Class, double white banded drill pipe. Accordingly, Defendant Knight Oil Tools is

  responsible for the acts of the others including Knight Oil Tools wholly owned, controlled, and

  supervised in-house inspection service Robinson Tubular Services, a Knight company, that were

  done in the furtherance of the common purpose to cover up the misrepresentation of the drill pipe

  in question.

          Moreover, such conduct constitutes spoliation and Plaintiffs would request an appropriate

  spoliation instruction at the time this case is submitted to the jury.

          Subsequent to the drill pipe failure and filing of this suit, Knight Oil Tools Inc. and

  Robinson Tubular Services Inc. were merged into Knight Oil Tools LLC which assumed the

  liabilities. and obligations of Knight Oil Tools Inc. and Robinson Tubular Services Inc. Knight

  Oil Tools Inc., now Knight Oil Tools LLC,is the named insured on the policies of liability

  insurance produced by Defendant Knight Oil Tools in this case in response to Request for

  Disclosures.




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                                                  XIII.

                                              DAMAGES

         Plaintiffs would incorporate the factual allegations set forth in Paragraph IV under

  "Factual Summary," and the causes of action asserted in Paragraphs V, VI, VII, VIII, IX, X,XI,

  and XII.

         As a result of Defendants' strict liability/ product liability, breach of warranty,

  negligence, negligent misrepresentation, violations of the Texas Deceptive Practices Act, gross

  negligence, breach of contract, and fraud as set out in Paragraphs V through XII, Plaintiffs have

  suffered damages in excess of the minimal jurisdictional limits of this Court to include:

         a.      General damages;

         b.      Special damages;

         c.      Actual damages;

         d.      Incidental and consequential damages;

         e.      Cash-market value of the Easterling No. 1-H well and hydrocarbon reserves;

         f.      Out-of-pocket damages including the loss of the Easterling No. 1-H lateral well
                 bore and the cost of the drill bit, bottom-hole assembly, and other rental
                 equipment damaged, lost, and/or destroyed down hole;

         g.      Loss of use damages;

         h.      Mitigation damages including the cost to attempt to fish the drill pipe that
                 separated along with the drill pipe string, bottom-hole assembly, and drill bit;

                 Loss profits;

         j.      Repair and/or replacement damages;




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         k.      Damages to the Easterling No. 1-H well lease and/or loss of reservoir and/or
                 reservoir damage and lost hydrocarbon reserves; or in the alternative, the cost to
                 reproduce the Easterling No. 1-H well;

                 Additional or treble damages permitted under the Texas Deceptive Treble
                 Practices Act;

         m.      Punitive and/or exemplary damages as allowed by law;

         n.      Reasonable and necessary attorneys' fees and costs through trial and on appeal;

         o.      Prejudgment interest and postjudgment interest as permitted by law; and

         p.      Taxable court costs.



                                        ATTORNEYS'FEES

         This is the type of action against Defendant Knight Oil Tools that gives rise to attorneys'

  fees and, therefore, Plaintiffs would further show that it was necessary to employ the services of

  The Krist Law Firm, P.C. and the firm of Tekell, Book, Allen &Morris, L.L.P. and specifically,

  Ronald D. Krist and Mike Morris, in order to assert their claim again Defendants. Accordingly,

  Plaintiffs seek to recover attorneys' fees, expenses, and costs pursuant to Tex. Civ. Prac. &Rem.

  Code. §38.001 and Section 17.50(d) ofthe Texas Deceptive Trade Practices Act to prosecute this

  matter to conclusion through trial and on appeal.



                                    CONDITIONS PRECEDENT

         Pursuant to Texas Rule of Civil Procedure 54, Plaintiffs aver generally that all conditions

  precedent have been performed or have occurred.




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                                                   XVI.

                                      SELF-AUTHENTICATION

         Pursuant to Texas Rule of Civil Procedure 193.7, Plaintiffs hereby give actual written

  notice that all documents produced in this litigation shall be used by the Plaintiffs at pre-trial

  proceedings and trial. Hence, all documents produced in this litigation are deemed self-

  authenticating for use in any pre-trial proceeding or at trial; and any objections thereto by the

  Defendants shall be in writing or placed on the record, giving Plaintiffs a reasonable opportunity

  to establish the challenged documents authenticity.

                                                  XVII.

                                     RESERVATION OF RIGHTS

         Plaintiffs fully reserve the right to amend or supplement this petition to add additional

  causes of action, parties and/or claims as discovery continues.

                                                  XVIII.

                                 MONETARY RELIEF REQUESTED

         Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs seek monetary relief

  over $1,000,000. Plaintiffs would state that the actual, exemplary, and/or additional damages

  awarded Plaintiffs are within the sound discretion of the trier offact. Pursuant to Defendants

  special exceptions and request under Texas Rule of Civil Procedure 47(d), Plaintiffs seek a

  maximum amount of direct and consequential economic and actual damages, excluding pre-

  judgment and postjudgment interest, attorneys' fees and costs, not to exceed $11,239,642;

  additional damages not to exceed three times the amount of economic damages found; and/or




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  exemplary damages to be awarded as a penalty or by way of punishment, in the discretion of the

  jury not to exceed $30,000,000.

                                                  XIX.

                                           JURY REQUEST

         Plaintiffs request a jury trial ofthis matter and have accordingly paid the proper fee with

  the filing of Plaintiffs' Original Petition and continue to demand a jury trial pursuant to Texas

  Rule of Civil Procedure 216.

                                                   XX.



          WHEREFORE,PREMISES CONSIDERED,Plaintiffs request that Defendants be cited

  to appear and answer, and that on final trial, Plaintiffs have:

         (1)     judgment against Defendants for all direct and consequential economic and actual
                 damages, exemplary damages, and/or additional damages in a sum in excess of
                 the minium the jurisdictional limits of this Court;

         (2)     prejudgment and postjudgment interest at the maximum rate permitted by law;

         (3)     costs of court;

         (4)     attorneys' fees and expenses litigation through trial and on appeal; and

         (5)     such other and further relief to which Plaintiffs may be justly entitled.


                                                 Respectfully Submitted,

                                                 THE KRIST LAW FIRM,P.C.


                                                 BY:
                                                         RONALD D. KRIST
                                                         State Bar No. 117270


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                                              Marina View Building
                                              2600 South Shore Blvd., Suite 120
                                              League City, Texas 77573
                                              (281)283-8500
                                              (281)488-3489 -Fax

                                       TEKELL,BOOK,ALLEN &MORRIS,L.L.P.
                                                        r
                                                        -




                                       BY:
                                              MIKE MORRIS
                                              State Bar No. 14495800
                                              1221 McKinney, Suite 4300
                                              Houston, Texas 77010-2010
                                              (713)222-9542
                                              (713)655-7727 -Fax

                                       ATTORNEYS FOR PLAINTIFFS, RIPPY OIL
                                       COMPANY,RIPPY INTEREST LLC,THE
                                       GENECOV GROUP,INC., and JOHN PROCTER




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  SO ORDERED.

  SIGNED October 24, 2017.



                                                         ________________________________________
                                                         ROBERT SUMMERHAYS
                                                         UNITED STATES BANKRUPTCY JUDGE

            ____________________________________________________________


                              UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION

  IN RE:                                             §        CASE NO. 17-51014
                                                     §
  KNIGHT ENERGY HOLDINGS, LLC,                       §        CHAPTER 11
  et al.,1                                           §
                                                     §
                   DEBTORS.                          §
                                                     §

            AGREED ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

            Upon consideration the Motion for an Order Granting Relief From the Automatic Stay

  (Doc. 357) (the “Motion”), filed herein by Rippy Oil Company, Rippy Interests LLC, The Genecov




  1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
  identification number, are: Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667)
  (Case No. 17-51015); Knight Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well
  Services, LLA (4156) (Case No. 17-51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training
  Management, LLC (0510) (Case No. 17-51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight
  Information Systems, LLC (0000) (Case No. 17-51021); El Caballero Ranch, Inc. (7345) (Case No. 17-51022); Rayne
  Properties, LLC (0000) (Case No. 17-51023); Knight Aviation, LLC (3329) (Case No. 17-51024); Knight Research
  & Development, LLC (3760) (Case No. 17-51025); Knight Family Enterprises, LLC (7190) (Case No. 17-51026);
  HMC Leasing, LLC (0814) (Case No. 17-51027); and HMC Investments, LLC (0000) (Case No. 17-51029. The
  Debtors’ service address is 2272 SE Evangeline Thruway, Lafayette, Louisiana 70508, except for Knight
  Manufacturing, LLC, which can be served at 2710-A Melancon Road, Broussard, Louisiana 70518, and Advanced
  Safety and Training Management, LLC, which can be served at 1042 Forum Drive, Broussard, Louisiana 70518.


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  Group, Inc., and John D. Proctor (together, “Rippy Oil”), the agreement of the Debtors to the relief

  requested therein, and the Court finding that: (i) it has jurisdiction over the matters raised in the

  Motion pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. §

  157(b)(2); (iii) proper and adequate notice of the Motion has been given and no other or further

  notice is necessary; and (iv) upon the record herein after due deliberation thereon, good and

  sufficient cause exists for the granting of the relief as set forth herein; therefore:

            IT IS ORDERED that the Motion is GRANTED.

            IT IS FURTHER ORDERED that the automatic stay be and is hereby modified as to Knight

  Oil Tools, LLC (the “Subject Debtor”) for the limited purpose of allowing the prosecution of the

  case captioned as Rippy Oil Company, et al. v. Knight Oil Tools, Inc., et al., No. 0-10-498, pending

  in the 369th Judicial District Court in Leon County, Texas (the “Proceeding”).

            IT IS FURTHER ORDERED that Rippy Oil shall seek recovery on the claims asserted in

  the Proceeding solely from applicable insurance policies of the Subject Debtor and the other non–

  Debtor defendants; it is further

            IT IS FURTHER ORDERED that the Subject Debtor’s liability in the Proceeding, and for

  any claims or causes of action that were or could have been raised in the Proceeding, shall be

  limited to the extent of any coverage provided by the Subject Debtor’s applicable insurance

  policies.

            IT IS FURTHER ORDERED that except as expressly provided herein, no collection action

  shall be commenced against the Subject Debtor without prior order of this Court.

            IT IS FURTHER ORDERED that Rippy Oil may seek and conduct such discovery

  involving the Subject Debtor as allowed by the applicable rules of civil procedure, local rules and

  scheduling orders in the Proceeding.


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            IT IS FURTHER ORDERED that nothing herein (i) alters or amends the terms and

  conditions of any insurance policies issued to the Debtor by ACE American Insurance Company

  or any of its affiliates or successors (collectively, “Chubb”) or any related agreements; (ii) relieves

  the Debtors of any obligations to Chubb to pay any retentions or to pay (or reimburse Chubb for)

  any deductibles; (iii) relieves the Debtors of any of their other obligations to Chubb under the

  insurance policies and related agreements; (iv) creates or permits a direct right of action by Rippy

  Oil against Chubb that would not otherwise exist under applicable law; or (v) precludes or limits,

  in any way, any rights of Chubb to contest and/or litigate the existence, primacy and/or scope of

  available coverage.

                                                   ###


  This Agreed Order was prepared and is being submitted by:

   /s/ Benjamin W. Kadden
  Benjamin W. Kadden (La. Bar. No. 29927)
  LUGENBUHL, WHEATON, PECK,
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  601 Poydras St., Suite 2775
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  Attorneys for Rippy Oil Company, Rippy Interests LLC,
  The Genecov Group, Inc., and John D. Proctor

   /s/ Tristan Manthey
  Heller, Draper, Patrick, Horn & Dabney, L.L.C.
  William H. Patrick, III (La. Bar No. 10359)
  Tristan Manthey (La. Bar No. 24539)
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  Attorneys for the Debtors

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                                    CAUSE NO. O-10-498

   RIPPY OIL COMPANY, RIPPY                      §            IN THE DISTRICT COURT OF
   INTEREST LLC, THE GENECOV                     §
   GROUP, INC., AND JOHN D.                      §
   PROCTOR,                                      §
                      Plaintiffs,                §                LEON COUNTY, T E X A S
                                                 §
   VS.                                           §
                                                 §
   KNIGHT OIL TOOLS, INC. AND                    §
   PIONEER DRILLING COMPANY,                     §                 278th JUDICIAL DISTRICT
                     Defendants.

     KNIGHT OIL TOOLS, INC.’S MOTION TO DISREGARD CERTAIN JURY
               FINDINGS, AND FOR ENTRY OF JUDGMENT

         Defendant Knight Oil Tools, Inc. files this this Motion to Disregard Jury Findings,

  and for Entry of Judgment, requesting that this Court disregard certain of the jury’s findings

  and render judgment that Plaintiffs, Rippy Oil Company, Rippy Interest, LLC, The

  Genecov Group, Inc., and John D. Proctor (collectively, “Rippy”), take nothing on their

  claims against Knight Oil, and that Knight Oil recover on its counterclaim. Knight Oil

  expressly reserves its right to file additional motions or assert further challenges to the

  jury’s findings as permitted under the Texas Rules of Civil Procedure.

                                      INTRODUCTION

         This case was called to a jury trial before this Court on May 1, 2018. At trial, Rippy

  presented its claims for recovery against Knight Oil based on allegations of negligent

  misrepresentation and breach of the implied warranty for fitness for particular purpose.

  Rippy claimed that these acts damaged its well, and that the well could not be reproduced

  “as it existed at the time of the occurrence in question.” Based on these claims, Rippy



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  sought to recover as damages the fair market value of the well immediately before the

  occurrence in question.

         The jury found that Knight Oil breached the implied warranty for fitness for

  particular purpose and made a negligent misrepresentation. The jury also found that the

  well could not be reproduced “as it existed at the time of the occurrence in question.”

  However, in answer to a separate question, the jury found that the cost to reproduce the

  well was $1.5 million, necessarily implying that the well could be reproduced. The jury

  further found that the fair market value of the well was $5.9 million immediately before

  the occurrence in question, and $0 immediately after the occurrence in question. Finally,

  the jury found that Rippy failed to comply with the parties’ agreement and awarded

  $361,356.87 in damages to Knight Oil.

         Under Texas law, if a well can be reproduced by drilling another one, the proper

  measure of damages is the lesser of (i) the cost of drilling and equipping another such well,

  less the value of any salvage, and (ii) the reasonable cash market value of the well

  immediately before the occurrence in question. Basic Energy Serv., Inc. v. D-S-B

  Properties, Inc., 367 S.W.3d 254, 262 (Tex. App.—Tyler 2011, no pet.); Atex Pipe &

  Supply, Inc. v. Sesco Prod. Co., 736 S.W.2d 914, 917 (Tex. App.—Tyler 1987, writ

  denied). Because the jury found that the well could be reproduced for $1.5 million, which

  was less than the fair market value of the well, the proper measure of damages, if any, is

  the cost to reproduce the well. Nevertheless, the Court signed a Final Judgment on June 4,

  2018, awarding Rippy $5.9 million, minus the amount of Knight Oil’s counterclaim,

  totaling $5,538,643.13, plus $2,056,885.14 in prejudgment interest.

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         For the reasons herein, Knight Oil requests the Court to disregard certain of the

  jury’s findings and render judgment that Rippy take nothing. By filing this motion, Knight

  Oil does not waive any of the points previously made in other motions or withdraw any of

  those points.

                                         ARGUMENT

  I.     Question No. 1.

         The Court should disregard the jury’s answer to Question No. 1 for any one or more

  of the following reasons:

         1.       The jury’s answer to Question No. 1 is not supported by legally sufficient

  evidence.

         2.       The evidence is factually insufficient to support a finding of each of the

  elements, and subparts of Question No. 1 that—

                  a.    Knight Oil breached the implied warranty of fitness for a particular
                        purpose;

                  b.    Any such breach was a proximate cause of the occurrence in question;

                  c.    Knight Oil had reason to know the particular purpose for which the
                        drill pipe was required; and

                  d.    Knight Oil had reason to know that Rippy was justifiably relying on
                        Knight Oil’s skill and judgment to furnish suitable drill pipe.

                  e.    Rippy did, in fact, justifiably rely on Knight Oil’s skill and judgment
                        to furnish suitable drill pipe.

                  f.    The drill pipe failed the particular purpose for which was it was
                        allegedly required.




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         3.     Rippy’s evidence was intended to prove that there was a defect in the pipe

  that caused the occurrence, which would have been a different legal theory than the one

  submitted to the jury in Question 1. Rippy offered legally insufficient evidence that the

  occurrence in question was caused by a product free from defects and suitable for some

  purposes, but not for the specific purpose in question. Rippy’s proof at trial was designed

  to demonstrate that there was a defect in the pipe that caused the failure, which is not a

  theory of breach of an implied warranty for fitness for particular use. Rippy offered legally

  insufficient evidence under the theory it submitted—i.e., that the occurrence in question

  was caused by a product free from defects and suitable for some purposes, but not for the

  specific purpose in question. Thus, Rippy has no viable cause of action for breach of the

  implied warranty of fitness for particular purpose. And, because Rippy has submitted the

  wrong theory and there is no evidence to support the theory of negligent misrepresentation

  (discussed below), judgment should be rendered in favor in Knight on all liability findings.

         4.     This question as submitted is immaterial, and should not have been

  submitted.

  II.    Question No. 2.

         The Court should disregard the jury’s answer to Question No. 2 for any one or more

  of the following reasons:

         1.     The jury’s answer to Question No. 2 is not supported by legally sufficient

  evidence.

         2.     The evidence is factually insufficient to support a finding of each of the

  elements, and subparts of Question No. 2 that—

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               a.     Knight Oil made a misrepresentation with respect to the condition of
                      the drill pipe at issue;

               b.     Such representation supplied false information for the guidance of
                      others in their business;

               c.     Knight Oil did not exercise reasonable care or competence in
                      obtaining or communicating the information;

               d.     Rippy justifiably relied on such representation; and

               e.     Any such representation was the proximate cause of the occurrence in
                      question.

         3.    This question as submitted is immaterial, and should not have been

  submitted.

  III.   Question No. 3, subpart 1.

         The Court should disregard the jury’s answer to Question No. 3, subpart 1 for any

  one or more of the following reasons:

         1.    The conclusive evidence established that the negligence of Rippy was a

  proximate cause of the occurrence in question.

         2.    There is no evidence, or the evidence is legally insufficient, to support a

  finding that a new and independent cause destroyed the casual connection between Rippy’s

  negligence and the occurrence in question.

  IV.    Question No. 3, subpart 2.

         The Court should disregard the jury’s answer to Question No. 3, subpart 2 for any

  one or more of the following reasons:

         1.    The conclusive evidence established that the negligence of Gyrodata was a

  proximate cause of the occurrence in question.

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         2.     There is no evidence, or the evidence is legally insufficient, to support a

  finding that a new and independent cause destroyed the casual connection between

  Gyrodata’s negligence and the occurrence in question.

  V.     Question No. 5.

         The Court should disregard the jury’s answer to Question No. 5 for any one or more

  of the following reasons:

         1.     The jury’s answer to Question No. 5 is not supported by legally sufficient

  evidence.

         2.     There is no evidence, or the evidence is legally insufficient, to support a

  finding that the Easterling No. 1–H well was not capable of being reproduced by drilling

  another well as it existed at the time of the occurrence in question.

         3.     The conclusive evidence established that the Easterling No. 1–H well was

  capable of being reproduced by drilling another well as it existed at the time of the

  occurrence in question.

         4.     This question as submitted contained an improper statement of law and

  should not have been submitted, by including the language “as it existed at the time of the

  occurrence in question.” See Am. Glycerin Co. v. Kenridge Oil Co., 295 S.W. 633, 636–

  37 (Tex. Civ. App.—Eastland 1927, no writ) (“We suggest that upon another trial of this

  case evidence should be admitted and the jury called upon to determine in answer to a

  proper special issue whether or not the well could have been reproduced by drilling another

  one.”(emphasis added)).



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         5.     This question as submitted is immaterial, and should not have been

  submitted.

  VI.    Question No. 6.

         The Court should disregard the jury’s answer to Question No. 6 for any one or more

  of the following reasons:

         1.     The jury’s answer to Question No. 6 is not supported by legally sufficient

  evidence.

         2.     There is no evidence, or the evidence is legally insufficient, to support a

  finding that the reasonable and necessary drilling and equipping costs for the Easterling

  No. 2-H well was $1.5 million.

  VII.   Question No. 7, subpart a.

         The Court should disregard the jury’s answer to Question No. 7, subpart a for any

  one or more of the following reasons:

         1.     The jury’s answer to Question No. 7, subpart a is not supported by legally

  sufficient evidence.

         2.     There is no evidence, or the evidence is legally insufficient, to support a

  finding that the reasonable fair market value of the Rippy Easterling 1–H well immediately

  before the occurrence in question was $5.9 million.

         3.     The conclusive evidence established that the reasonable fair market value of

  the well immediately before the occurrence in question was less than $5.9 million.




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         4.     There is no evidence, or the evidence is legally insufficient, to support a

  finding that the reasonable fair market value of the Easterling 1–H well immediately before

  the occurrence in question was proximately caused by the occurrence in question.

         5.     This question as submitted is immaterial, and should not have been

  submitted.

  VIII. Question No. 7, subpart b.

         The Court should disregard the jury’s answer to Question No. 7, subpart b for any

  one or more of the following reasons:

         1.     The jury’s answer to Question No. 7, subpart b is not supported by legally

  sufficient evidence.

         2.     There is no evidence, or the evidence is legally insufficient, to support a

  finding that the reasonable fair market value of the Rippy Easterling 1–H well immediately

  after the occurrence in question was $0 million.

         3.     The conclusive evidence established that the reasonable fair market value of

  the well immediately after the occurrence in question was greater than $0.

         4.     There is no evidence, or the evidence is legally insufficient, to support a

  finding that the reasonable fair market value of the Easterling 1–H well immediately after

  the occurrence in question was proximately caused by the occurrence in question.

         5.     This question as submitted is immaterial, and should not have been

  submitted.




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                                       CONCLUSION

         Knight Oil Tools, Inc. requests that the Court vacate the Final Judgment in this

   matter, disregard the jury’s findings, and render judgment that Plaintiffs, Rippy Oil

   Company, Rippy Interest, LLC, The Genecov Group, Inc., and John D. Proctor, take

   nothing, and that Knight Oil recover on its counterclaim as found by the jury.

                                            Respectfully submitted,

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                                            State Bar No. 24032706
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                                            rdonato@donatominxbrown.com

                                            ATTORNEYS FOR DEFENDANT
                                            KNIGHT OIL TOOL


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                              CERTIFICATE OF SERVICE

        I hereby certify that, on the 3rd day of July, 2018, a true and correct copy of the
  above and foregoing has been served by electronic transmission on all counsel of record.

                                                  /s/ Jessica Z. Barger
                                                  Jessica Z. Barger




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                                     CAUSE NO. O-10-498

    RIPPY OIL COMPANY, RIPPY                     §             IN THE DISTRICT COURT OF
    INTEREST LLC, THE GENECOV                    §
    GROUP, INC., AND JOHN D.                     §
    PROCTOR,                                     §
                       Plaintiffs,               §                LEON COUNTY, T E X A S
                                                 §
    VS.                                          §
                                                 §
    KNIGHT OIL TOOLS, INC. AND                   §
    PIONEER DRILLING COMPANY,                    §                 278th JUDICIAL DISTRICT
                      Defendants.

             KNIGHT OIL TOOL, INC.’S MOTION FOR NEW TRIAL AND
                  ALTERNATIVE MOTION FOR REMITTITUR

          Defendant Knight Oil Tools, Inc. files this Motion for New Trial, pursuant to Texas

   Rules of Civil Procedure 324 and 329b, and alternative Motion for Remittitur, pursuant to

   Texas Rule of Civil Procedure 315. The fee required for filing this Motion for New Trial

   is being tendered along with the motion.

                                       INTRODUCTION

          This case was called to a jury trial before this Court on May 1, 2018. At trial,

   Plaintiffs, Rippy Oil Company, Rippy Interest, LLC, The Genecov Group, Inc., and John

   D. Proctor (collectively, “Rippy”) presented their claims for recovery against Knight Oil

   based on allegations of negligent misrepresentation and breach of the implied warranty for

   fitness for particular purpose. Rippy claimed that these acts damaged its well, and that the

   well could not be reproduced “as it existed at the time of the occurrence in question.” Based

   on these claims, Rippy sought to recover as damages the fair market value of the well

   immediately before the occurrence in question.



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          The jury found that Knight Oil breached the implied warranty for fitness for

   particular purpose and made a negligent misrepresentation. The jury also found that the

   well could not be reproduced “as it existed at the time of the occurrence in question.”

   However, in answer to a separate question, the jury found that the cost to reproduce the

   well was $1.5 million, necessarily implying that the well could be reproduced. The jury

   further found that fair market value of the well was $5.9 million immediately before the

   occurrence in question, and $0 immediately after the occurrence in question. Finally, the

   jury found that Rippy failed to comply with the parties’ agreement and awarded

   $361,356.87 in damages to Knight Oil.

          Under Texas law, if a well can be reproduced by drilling another one, the proper

   measure of damages is the lesser of (i) the cost of drilling and equipping another such well,

   less the value of any salvage, and (ii) the reasonable cash market value of the well

   immediately before the occurrence in question. Basic Energy Serv., Inc. v. D-S-B

   Properties, Inc., 367 S.W.3d 254, 262 (Tex. App.—Tyler 2011, no pet.); Atex Pipe &

   Supply, Inc. v. Sesco Prod. Co., 736 S.W.2d 914, 917 (Tex. App.—Tyler 1987, writ

   denied). Because the jury found that the well could be reproduced for $1.5 million, which

   was less than the fair market value of the well, the proper measure of damages, if any, is

   the cost to reproduce the well. Nevertheless, the Court signed a Final Judgment on June 4,

   2018, awarding Rippy $5.9 million, minus the amount of Knight Oil’s counterclaim,

   totaling $5,538,643.13, plus $2,056,885.14 in prejudgment interest.

          For the reasons stated herein, Knight Oil requests the Court to vacate its Final

   Judgment and order a new trial of this case. By filing this Motion for New Trial, Knight

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   Oil does not waive any of the points previously made in other motions or withdraw any of

   those points.

                                          ARGUMENT

   I.     Question No. 1.

          The jury’s answer to Question No. 1 should be set aside, and a new trial granted, for

   any one or more of the following reasons:

          1.       The jury’s answer to Question No. 1 is not supported by factually sufficient

   evidence and is against the great weight and preponderance of the evidence.

          2.       The evidence is factually insufficient to support a finding of each of the

   following parts of Question 1, that—

                   a.    Knight Oil breached the implied warranty of fitness for a particular
                         purpose;

                   b.    Any such breach was a proximate cause of the occurrence in question;

                   c.    Knight Oil had reason to know the particular purpose for which the
                         drill pipe was required; and

                   d.    Knight Oil had reason to know that Rippy was justifiably relying on
                         Knight Oil’s skill and judgment to furnish suitable drill pipe.

                   e.    Rippy did, in fact, justifiably rely on Knight Oil’s skill and judgment
                         to furnish suitable drill pipe.

                   f.    The drill pipe failed the particular purpose for which was it was
                         allegedly required.

          3.       Rippy’s evidence was intended to prove that there was a defect in the pipe

   that caused the occurrence, which would have been a different legal theory than the one

   submitted to the jury in Question 1. Rippy offered factually insufficient evidence that the


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   occurrence in question was caused by a product free from defects and suitable for some

   purposes, but not for the specific purpose in question. Thus, Rippy has no viable cause of

   action for breach of the implied warranty of fitness for particular purpose.

          4.     This question as submitted is immaterial, and should not have been

   submitted.

   II.    Question No. 2.

          The jury’s answer to Question No. 2 should be set aside, and a new trial granted, for

   any one or more of the following reasons:

          1.     The jury’s answer to Question No. 2 is not supported by factually sufficient

   evidence and is against the great weight and preponderance of the evidence.

          2.     The evidence is factually insufficient to support a finding of each of the

   elements of Question No. 2 that—

                 a.     Knight Oil made a misrepresentation with respect to the condition of
                        the drill pipe at issue;

                 b.     Such representation supplied false information for the guidance of
                        others in their business;

                 c.     Knight Oil did not exercise reasonable care or competence in
                        obtaining or communicating the information;

                 d.     Rippy justifiably relied on such representation; and

                 e.     Any such representation was the proximate cause of the occurrence in
                        question.

          3.     This question as submitted is immaterial, and should not have been

   submitted.



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   III.   Question No. 3, subpart 1.

          The jury’s answer to Question No. 3, subpart 1 should be set aside, and a new trial

   granted, for any one or more of the following reasons:

          1.    The jury’s answer to Question No. 3, subpart 1 is against the overwhelming

   t weight and preponderance of the evidence.

          2.    The great weight and preponderance of the evidence established that the

   negligence of Rippy was a proximate cause of the occurrence in question.

          3.    The evidence is factually insufficient to support a finding that a new and

   independent cause destroyed the casual connection between Rippy’s negligence and the

   occurrence in question.

   IV.    Question No. 3, subpart 2.

          The jury’s answer to Question No. 3, subpart 2 should be set aside, and a new trial

   granted, for any one or more of the following reasons:

          1.    The jury’s answer to Question No. 3, subpart 2 is against the great weight

   and preponderance of the evidence.

          2.    The great weight and preponderance of the evidence established that the

   negligence of Gyrodata was a proximate cause of the occurrence in question.

          3.    The evidence is factually insufficient to support a finding that a new and

   independent cause destroyed the casual connection between Gyrodata’s negligence and the

   occurrence in question.




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   V.     Question No. 5.

          The jury’s answer to Question No. 5 should be set aside, and a new trial granted, for

   any one or more of the following reasons:

          1.     The jury’s answer to Question No. 5 is not supported by factually sufficient

   evidence and is against the great weight and preponderance of the evidence.

          2.     The evidence is factually insufficient to support a finding that the Easterling

   No. 1–H well was not capable of being reproduced by drilling another well as it existed at

   the time of the occurrence in question.

          3.     The great weight and preponderance of the evidence established that the

   Easterling No. 1–H well was capable of being reproduced by drilling another well as it

   existed at the time of the occurrence in question.

          4.     This question as submitted contained an improper statement of law and

   should not have been submitted, by including the language “as it existed at the time of the

   occurrence in question.” See Am. Glycerin Co. v. Kenridge Oil Co., 295 S.W. 633, 636–

   37 (Tex. Civ. App.—Eastland 1927, no writ) (“We suggest that upon another trial of this

   case evidence should be admitted and the jury called upon to determine in answer to a

   proper special issue whether or not the well could have been reproduced by drilling another

   one.” (emphasis added)).

          5.     This question as submitted is immaterial, and should not have been

   submitted.




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   VI.    Question No. 6.

          The jury’s answer to Question No. 6 should be set aside, and a new trial granted, for

   any one or more of the following reasons:

          1.     The jury’s answer to Question No. 6 is not supported by factually sufficient

   evidence and is against the great weight and preponderance of the evidence.

          2.     The evidence is factually insufficient to support a finding that the reasonable

   and necessary drilling and equipping costs for the Easterling No. 2-H well was $1.5 million.

   VII.   Question No. 7, subpart a.

          The jury’s answer to Question No. 7, subpart a should be set aside, and a new trial

   granted, for any one or more of the following reasons:

          1.     The jury’s answer to Question No. 7, subpart a is not supported by factually

   sufficient evidence and is against the great weight and preponderance of the evidence.

          2.     The evidence is factually insufficient to support a finding that the reasonable

   fair market value of the Rippy Easterling 1–H well immediately before the occurrence in

   question was $5.9 million.

          3.     The great weight and preponderance of the evidence established that the

   reasonable fair market value of the well immediately before the occurrence in question was

   less than $5.9 million.

          4.     The evidence is factually insufficient to support a finding that the reasonable

   fair market value of the Easterling 1–H well immediately before the occurrence in question

   was proximately caused by the occurrence in question.



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          5.     This question as submitted is immaterial, and should not have been

   submitted.

          6.     Alternatively, the award is excessive and the Court should suggest a

   substantial remittitur.

   VIII. Question No. 7, subpart b.

          The jury’s answer to Question No. 7, subpart b should be set aside, and a new trial

   granted, for any one or more of the following reasons:

          1.     The jury’s answer to Question No. 7, subpart b is not supported by factually

   sufficient evidence and is against the great weight and preponderance of the evidence.

          2.     The evidence is factually insufficient to support a finding that the reasonable

   fair market value of the Rippy Easterling 1–H well immediately after the occurrence in

   question was $0 million.

          3.     The great weight and preponderance of the evidence established that the

   reasonable fair market value of the well immediately after the occurrence in question was

   greater than $0.

          4.     The evidence is factually insufficient to support a finding that the reasonable

   fair market value of the Easterling 1–H well immediately after the occurrence in question

   was proximately caused by the occurrence in question.

          5.     This question as submitted is immaterial, and should not have been

   submitted.




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                                         CONCLUSION

          Knight Oil Tools, Inc. requests that the Court grant its Motion for New Trial, vacate

   its Final Judgment in this matter, and order a new trial on one or more of the challenges

   raised in this motion. Alternatively, Knight Oil requests a substantial remittitur, and, in the

   event the remittitur is not accepted, a new trial.

                                               Respectfully submitted,

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                                               State Bar No. 24032706
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                                               ATTORNEYS FOR DEFENDANT
                                               KNIGHT OIL TOOL


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                               CERTIFICATE OF SERVICE

          I hereby certify that, on the 3rd day of July, 2018, a true and correct copy of the
   aboveand foregoing has been served by electronic transmission on all counsel of record.

                                                    /s/ Jessica Z. Barger
                                                    Jessica Z. Barger




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                                    IN THE
                            TENTH COURT OF APPEALS

                                   No. 10-18-00284-CV

   KNIGHT OIL TOOLS, INC.,
                                                             Appellant
   v.

   RIPPY OIL COMPANY, RIPPY INTEREST LLC,
   THE GENECOV GROUP, INC., AND JOHN D. PROCTOR,
                                          Appellees



                             From the 278th District Court
                                 Leon County, Texas
                               Trial Court No. O-10-498


                             MEMORANDUM OPINION


         Rippy Oil Company brought suit against Knight Oil Tools, Inc. for damages that

   occurred when a drill pipe broke while drilling a well. Knight filed a counterclaim

   against Rippy for unpaid invoices. The jury found Knight liable for damages and also

   found Rippy failed to pay certain invoices. The trial court entered judgment in favor of

   Rippy for $5,538,643.13. We affirm.




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                                           BACKGROUND FACTS

          Knight Oil Tools rents drill pipe to oil companies and oil well operators for drilling

   oil and gas wells. Rippy Oil Company made plans to drill a well in the Eagle Ford Shale

   and contacted Knight to supply pipe for drilling the horizontal portion of the Easterling

   1-H well. Rippy hired Leo Wiggins as a well consultant, and Larry Elkins to assist

   Wiggins. Wiggins and Elkins had authority to order equipment as needed for drilling

   and to accept delivery.

          Knight delivered pipe and other equipment to the Easterling 1-H well site with a

   delivery ticket and sent the invoice to the main office. The delivery ticket contained

   language that the pipe measurements complied with the dimensions for American

   Petroleum Institute (A.P.I.) premium class and/or Knight Oil Tools value. The testimony

   at trial established that pipe marked with two white bands meets the standards for A.P.I.

   premium pipe. The pipe delivered by Knight was marked with two white bands, but the

   record shows that some of the pipe delivered did not comply with the dimensions for

   A.P.I. premium class pipe.

          On May 11, 2010, one of the drill pipes supplied by Knight broke while it was in

   the well. The parties agree that the pipe failure was caused by fatigue. Rippy was not

   able to recover the broken pipe and the drill string beyond it and eventually had to

   abandon the Easterling 1-H. Rippy attempted to drill an offset well, Easterling 2-H, but

   that effort was unsuccessful.


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         Rippy filed suit against Knight to recover damages for the lost well, and Knight

  filed a counterclaim to recover for unpaid invoices. The jury found in favor of Rippy on

  submitted questions of negligent representation and breach of implied warranty of

  fitness for a particular purpose. The jury further found in favor of Knight on unpaid

  invoices. The trial court entered judgment in favor of Rippy.

                                  SUFFICIENCY OF THE EVIDENCE

         The case was submitted to the jury on two theories of liability: (1) negligent

  misrepresentation, and (2) breach of warranty of fitness for a particular purpose. In its

  first issue, Knight argues that the evidence is legally and factually insufficient to support

  the jury’s findings regarding negligent misrepresentation or causation of the well failure

  under any theory. Specifically, Knight argues that the evidence was insufficient to prove

  Knight’s conduct was the proximate cause of the loss of the well under either theory

  submitted to the jury. In the second issue, Knight argues that the evidence is legally and

  factually insufficient to support the jury’s finding on breach of warranty of fitness for a

  particular purpose.

         In reviewing the jury's verdict for the legal sufficiency of the evidence, we consider

  all of the evidence in the light most favorable to the prevailing party, "crediting favorable

  evidence if reasonable jurors could, and disregarding contrary evidence unless

  reasonable jurors could not." City of Keller v. Wilson, 168 S.W.3d 802, 808 (Tex.2005). We

  must not substitute our opinion on witness credibility for that of the jury. Id. at 816-17.


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                Jurors are the sole judges of the credibility of the witnesses and the
         weight to give their testimony. They may choose to believe one witness and
         disbelieve another. Reviewing courts cannot impose their own opinions to
         the contrary.
                Most credibility questions are implicit rather than explicit in a jury's
         verdict. Thus, reviewing courts must assume jurors decided all of them in
         favor of the verdict if reasonable human beings could do so. Courts
         reviewing all the evidence in a light favorable to the verdict thus assume
         that jurors credited testimony favorable to the verdict and disbelieved
         testimony contrary to it.
                                                ...
                Nor is it necessary to have testimony from both parties before jurors
         may disbelieve either. Jurors may disregard even uncontradicted and
         unimpeached testimony from disinterested witnesses.                       Even
         uncontroverted expert testimony does not bind jurors unless the subject
         matter is one for experts alone.
                Of course, "[t]he jury's decisions regarding credibility must be
         reasonable." Jurors cannot ignore undisputed testimony that is clear,
         positive, direct, otherwise credible, free from contradictions and
         inconsistencies, and could have been readily controverted. And as noted
         above, they are not free to believe testimony that is conclusively negated by
         undisputed facts. But whenever reasonable jurors could decide what
         testimony to discard, a reviewing court must assume they did so in favor
         of their verdict, and disregard it in the course of legal sufficiency review.

  Id. at 819-20 (footnotes and citations omitted).

         In a factual-sufficiency challenge, an appellate court must consider and weigh all

  of the evidence. Cain v. Bain, 709 S.W.2d 175, 176 (Tex. 1986) (per curiam). The verdict

  should be set aside only if it is so contrary to the overwhelming weight of the evidence

  as to be clearly wrong and unjust. Id. We may not pass upon the witnesses' credibility

  or substitute our judgment for that of the factfinder, even if the evidence would support

  a different result. 2900 Smith, Ltd. v. Constellation New Energy, Inc., 301 S.W.3d 741, 746

  (Tex. App. —Houston [14th Dist.] 2009, no pet.). If we determine the evidence is factually
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  insufficient, we must detail the evidence relevant to the issue and state in what regard

  the contrary evidence greatly outweighs the evidence supporting the trial court's

  judgment; we need not do so when affirming the judgment. Id.

  NEGLIGENT MISREPRESENTATION

         The jury was asked in Question 2 whether Knight Tool made a negligent

  representation with respect to the condition of the drill pipe on which Rippy justifiably

  relied and was the proximate cause of the drill pipe separation. The jury answered “yes,”

  and Knight challenges the jury finding.

         The elements of negligent misrepresentation are: (1) a defendant provided

  information in the course of his business; (2) the information supplied was false; (3) the

  defendant did not exercise reasonable care or competence in obtaining or communicating

  the information; (4) the plaintiff justifiably relied on the information; and (5) the plaintiff

  suffered damages proximately caused by the reliance. Retherford v. Castron, 378 S.W.3d

  29, 37 (Tex. App. — Waco 2012, pet. den’d); Larsen v. Carlene Langford & Associates, 41

  S.W.3d 245, 249-50 (Tex. App. —Waco 2001, pet. den’d).

         Charles Rippy, the President of Rippy Oil, testified that Rippy requested A.P.I.

  premium pipe for the Easterling 1-H well. The evidence shows that A.P.I. premium pipe

  is marked with two white bands to signify that it is premium. Daniel Rogers, a corporate

  representative for Knight, testified by deposition that if the drill pipe supplied by Knight

  had two white bands, the customer could rely on the pipe being A.P.I. premium pipe and


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  that “the whole world” could rely on it being premium pipe. Rogers further stated that

  Knight intended to represent the pipe as being inspected to A.P.I. premium standards.

         The record shows that the pipe that failed did not meet A.P.I. premium standards.

  The pipe broke in the well, and the well was lost. Viewing the evidence in the light most

  favorable to the jury’s verdict, we find that a rational factfinder could conclude that

  Knight made a false representation about the quality of the drill pipe, that Knight did not

  use reasonable care in obtaining or communicating the information, and that Rippy

  justifiably relied on the representation.

         We now address whether the evidence supports the jury’s finding on proximate

  cause. The components of proximate cause are cause-in-fact and foreseeability. See

  Western Investments, Inc. v. Urena, 162 S.W.3d 547, 551 (Tex. 2005). The cause-in-fact

  element is satisfied by proof that (1) the act was a substantial factor in bringing about the

  harm at issue, and (2) absent the act ("but for" the act), the harm would not have

  occurred. HMC Hotel Props. II Ltd. Partnership v. Keystone-Texas Prop. Holding Corporation,

  439 S.W.3d 910, 913 (Tex. 2014). These elements cannot be established by mere conjecture,

  guess, or speculation. Id.

         Charles Rippy testified that after the lawsuit was filed, Knight provided serial

  numbers for some of the drill pipe. Based on those serial numbers, evidence showed that

  Knight Oil purchased the drill pipe in 1993, and delivered the pipe to the well site in April

  2010. Charles Rippy further testified that some of the drill pipe had not been inspected


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  by Knight in over a year. The jury heard evidence that the fatigue cracks in the pipe were

  present before the pipe was used by Rippy. Hilton Prejean, an A.P.I. member who helped

  write the A.P.I. standards, testified by deposition that the pipe that broke was “scrap tool

  joint” with excessive wear. Prajean found that the tool joint on the pipe had pre-existing

  cracks before being used at the Rippy well and that it “should not have been on location

  at all.”

             Knight argues that Rippy was required to produce evidence that the pipe would

  not have failed assuming it met A.P.I. premium standards citing BIC Pen Corporation v.

  Carter, 346 S.W.3d 533 (Tex. 2011) as authority. In BIC, a six year-old girl was severely

  burned when her five year-old brother started a fire with a BIC lighter. The plaintiff

  alleged that the manufacturing defects in the lighter were the cause of the fire and the

  girl’s injuries. The Court stated that there must have been some evidence that the fire

  that burned the little girl started because of the specific manufacturing defects and that

  absent those defects her injuries would not have occurred. Id. at 542. The Court

  concluded that the evidence was insufficient to support the finding that manufacturing

  defects in BIC's Subject Lighter were a cause-in-fact of the injuries. Id. at 545.

             We do not agree with Knight’s premise that under BIC, Rippy must show that the

  pipe would not have failed assuming it met A.P.I. premium standards. Rather, pursuant

  to BIC, Rippy must show that the condition of the pipe supplied by Knight was a




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  substantial factor in the loss of the well and that absent the condition of the pipe, the harm

  would not have occurred.

         The parties agree that the pipe broke as a result of fatigue failure. Rippy presented

  evidence that the tool joint was worn excessively, did not meet A.P.I. premium standards,

  and had pre-existing cracks before being used in the Rippy well. Although Knight

  presented evidence that other factors could have caused the fatigue failure, we must not

  substitute our opinion on witness credibility for that of the jury. City of Keller v. Wilson,

  168 S.W.3d at 816-17.

         We find that the evidence is legally sufficient to support the jury’s finding on

  negligent representation. Additionally, we cannot say that the jury's verdict as to this

  claim is so contrary to the overwhelming weight of the evidence as to be clearly wrong

  and unjust.

         We overrule Knight’s first issue as to the sufficiency of the evidence on proximate

  cause and negligent misrepresentation. When the judgment rests on multiple theories of

  recovery, we need not address all causes of action if any one theory is valid. EMC

  Mortgage Corp. v. Jones, 252 S.W.3d 857, 870 (Tex. App. —Dallas 2008, no pet.); Checker Bag

  Co. v. Washington, 27 S.W.3d 625, 634 (Tex. App. — Waco 2000, pet. den’d). Therefore, we

  need not address Knight’s second issue on appeal as to the sufficiency of the evidence to

  support the jury’s answer on breach of breach of implied warranty of fitness for a

  particular purpose.


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  NEGLIGENCE

         In the fourth issue, Knight argues that the evidence is factually insufficient to

  support the jury’s failure to find that Rippy and Gyrodata were negligent. In Question 3,

  the jury was asked if the negligence of the Rippy Oil Company and/or Gyrodata

  proximately caused the occurrence in question. The jury answered “No” for both Rippy

  Oil Company and Gyrodata.

         Knight contends that there were problems in the well prior to the drill pipe

  breaking. Charles Rippy testified that they encountered a trouble spot while drilling the

  Easterling 1-H, but that it was not a “catastrophe” and was fairly common. Rippy also

  testified that a Gyrodata motor broke off in the well, and they had to make adjustments

  for that. In Question 3 the jury was asked if the negligence of Rippy or Gyrodata

  proximately caused the “occurrence” in question. Occurrence was defined for the jury as

  “the drill pipe separation that occurred on the Easterling No. 1-H well on May 11, 2010.”

  We cannot say that the jury’s answer to Question 3 is so contrary to the overwhelming

  weight of the evidence as to be clearly wrong and unjust. We overrule the fourth issue.

                                          SUMMARY JUDGMENT

         In the third issue, Knight argues that the trial court erred in granting summary

  judgment. Rippy filed a traditional and no evidence motion for summary judgment as

  to Knight’s affirmative defense of release and indemnity.




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          We review the trial court's granting of a motion for summary judgment de novo.

   The movant in a traditional summary judgment motion must show that there is no

   genuine issue of material fact and that he is entitled to judgment as a matter of law.

   See TEX. R. CIV. P. 166a(c); Nixon v. Mr. Prop. Mgmt. Co., Inc., 690 S.W.2d 546, 548 (Tex.

   1985). The granting of a no-evidence motion will be sustained when the evidence offered

   by the non-movant to prove a vital fact is no more than a mere scintilla. Merrell Dow

   Pharms., Inc. v. Havner, 953 S.W.2d 706, 711 (Tex. 1997).

          The pipe was delivered to the well site with a delivery ticket that had a provision

   on the front indicating that the customer agrees to the terms and conditions on the reverse

   side of the document. The reverse side of the delivery ticket contained terms and

   conditions including a paragraph on release and indemnity:

          Customer assumes full responsibility for and agrees to defend, indemnify
          and hold Knight harmless from every demand, claim, suit or cause of
          action, including, but not limited to, personal injury, illness, death, loss of
          well, well damage, reservoir damage, blowout pollution, contamination or
          any damage to property which arise out of, in connection with, incident to
          or results directly or indirectly from the rental or use of the equipment or
          services provided.
          Customer’s release, defense, indemnity, and hold harmless obligations
          apply even if the liability demand, claims, suits and causes of action are
          caused by the sole, concurrent, active or passive negligence, fault or strict
          liability of Knight, the unseaworthiness of any vessel, a pre-existing
          condition or any defect in the services or equipment or services provided..

   There was also a paragraph on waiver of warranty:

          Knight makes no representation or warranty of any kind, express or
          implied, with respect to drill pipe, tools or other equipment or services
          provided; customer understands and agrees that no warranty is to be
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          implied with respect to the condition of the equipment, or its
          merchantability or the fitness of the equipment for a particular purpose.
          Knight shall not in any event be liable for any special, direct, indirect,
          incidental or consequential damages. Knight makes no warranty as to
          whether the equipment leased or sold meets the specifications, stipulated
          size, or the description for which customer contracted. Customer
          understands and acknowledges that the equipment rented or sold may be
          used equipment.
          Because of the uncertainty of well conditions and the necessity of relying
          on information and services provided by others, Knight cannot guarantee
          the effectiveness of the equipment or services provided by Knight. Knight
          shall not be liable for any special, direct, indirect, incidental or
          consequential damages. Customer agrees that Knight shall not be liable for
          and customer shall indemnify Knight against any damages arising from the
          use of such services and equipment, even if such is contributed to by
          Knight’s sole or concurrent negligence, fault or strict liability or the defect
          of any equipment sold or leased by Knight.

          The trial court initially granted the motion without stating the basis for its ruling.

   During trial, Knight moved for reconsideration of the trial court’s ruling. The trial court

   denied the motion for reconsideration and found that the Release Discharging Indemnity

   Agreement on back of the invoice was not negotiated between the parties. The trial court

   further found that “neither Elkins or Wiggins had apparent, implied, or actual authority

   on behalf of Rippy to bind them to the indemnity, discharge and release provisions….”

          “Contracts indemnifying one against his distribution of defective products should

   be viewed as exceptions to the usual business practice, in the same manner as those

   indemnifying one against his own negligence.” Rourke v. Garza, 530 S.W.2d 794, 804 (Tex.

   1975). Leo Wiggins and Larry Elkins were well consultants on the Easterling 1-H well,

   but they were not employees of Rippy. The summary judgment evidence establishes that


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   Wiggins and Elkins had authority to order equipment and accept delivery of equipment

   and to supervise operations at the well, but that they did not have authority to negotiate

   any agreement on behalf of Rippy on release and indemnity.         Such negotiations may

   have great financial impact on the parties, and are therefore not of the kind ordinarily

   executed by a superintendent of job sites. See Rourke v. Garza, 530 S.W.2d at 804. The trial

   court did not err in granting Rippy’s motion for summary judgment. We overrule the

   third issue.

                                           DAMAGES

          In issues five, six, and seven, Knight argues that the evidence is insufficient to

   support the jury’s finding on damages, that the trial court erred in admitting evidence

   and refusing jury charge instructions, and that the trial court erred in wording jury

   questions.

          In Question 5, the jury was asked if the Easterling No. 1-H well was capable of

   being reproduced by drilling another well as it existed at the time of the occurrence in

   question. The jury answered “No.” In Question 6, the jury was asked what would have

   been the reasonable and necessary costs of drilling and equipping the Easterling 2-H well

   in the condition the Easterling 1-H well was equipped before the occurrence in question

   less the salvage value. The jury answered that the reasonable and necessary drilling and

   equipping costs for the Easterling No. 2-H well were $1.5 million. In Question 7, the jury

   was asked the reasonable fair market value of the Easterling 1-H well immediately before


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   the occurrence in question and immediately after the occurrence in question. The jury

   was instructed that fair market value means the price a willing seller not obligated to sell

   can obtain from a willing buyer not obligated to buy. The jury answered that the value

   of the Easterling 1-H before the occurrence was 5.9 million dollars and after the time of

   the occurrence was 0.

          We will not disregard a jury's determination of damages merely because its

   reasoning in reaching its figures is unclear. Enright v. Goodman Distribution, Inc., 330

   S.W.3d 392, 403 (Tex. App. —Houston [14th Dist.] 2010, no pet.). A jury generally has

   discretion to award damages within the range of evidence presented at trial. Gulf States

   Utilities. Co. v. Low, 79 S.W.3d 561, 566 (Tex. 2002). It may not, however, "arbitrarily assess

   an amount neither authorized nor supported by the evidence presented at trial." First

   State Bank v. Keilman, 851 S.W.2d 914, 930 (Tex. App. Austin —1993, writ denied).

          Charles Rippy testified that the fair market value of the Easterling 1-H well just

   prior to the drill pipe breaking was nine million dollars. Charles Rippy explained that

   they drilled the Sims 3-H as a concept well to gather information before drilling the

   Easterling 1-H. Charles Rippy explained that he used the production data from the Sims

   3-H to help determine the fair market value of the Easterling 1-H.

          Knight produced evidence that the fair market value of the Easterling 1-H before

   the drill pipe break was between $1,053,315 and $2,231,600. Knight’s fair market value




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   made reductions for potential mechanical problems. Knight’s expert explained in detail

   how he arrived at those values.

          The jury’s answer of 5.9 million dollars is in the range of evidence presented at

   trial. The jury heard differing methods for arriving at the value of the well and for

   discounting the value for risk. Although no one testified to the 5.9 million figure

   determined by the jury, the amount is supported by the evidence at trial. We find that

   the evidence is legally sufficient to support the jury’s determination of damages.

   Additionally, we cannot say that the jury's verdict as to this claim is so contrary to the

   overwhelming weight of the evidence as to be clearly wrong and unjust.

          Knight argues that the trial court admitted “numerous” exhibits relating to lost

   profits over objection. Knight contends that such evidence was confusing, prejudicial,

   and irrelevant.

          We review a trial court's decision to admit or exclude evidence under an abuse of

   discretion standard. Interstate Northborough Partnership v. State, 66 S.W.3d 213, 220 (Tex.

   2001). A trial court abuses its discretion if it acts in an arbitrary or unreasonable manner

   without reference to any guiding rules or principles. Downer v. Aquamarine Operators,

   Inc., 701 S.W.2d 238, 241-42 (Tex. 1985). Knight does not specifically identify which

   exhibits were erroneously admitted. However, we find that the trial court did not abuse

   its discretion in admitting exhibits relating to lost profits.




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          Knight also argues that the trial court erred in refusing its requested instructions

   in Question 7. Knight requested the trial court include two instructions: (1) lost profits

   should not be considered in fair market value, and (2) lost profits should be shown with

   reasonable certainty.

          We review a trial court's decision to submit or refuse a particular instruction under

   an abuse of discretion standard of review. Thota v. Young, 366 S.W.3d 678, 687 (Tex. 2012).

   The trial court has considerable discretion to determine proper jury instructions, and "[i]f

   an instruction might aid the jury in answering the issues presented to them, or if there is

   any support in the evidence for an instruction, the instruction is proper." Id. An appellate

   court will not reverse a judgment for a charge error unless that error was harmful because

   it "probably caused the rendition of an improper judgment" or "probably prevented the

   petitioner from properly presenting the case to the appellate courts." TEX. R. APP. P. 61.1;

   Thota v. Young, 366 S.W.3d at 687.

          Knight has not shown that the trial court abused its discretion in denying the

   requested instructions. Moreover, because we found that the jury’s answer of 5.9 million

   dollars was supported by the evidence, Knight has not shown that failure to include the

   instruction probably caused the rendition of an improper judgment.

          Knight further argues that the proper measure of damages when the damaged

   property is an oil or gas well is the lesser of the cost of drilling and equipping a

   replacement well, less the value of salvage and the reasonable cash market value of the


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   well immediately before the occurrence in question citing Basic Energy Services, Inc. v. D-

   S-B Props., Inc., 367 S.W.3d 254, 262 (Tex. App. —Tyler 2011, no pet.). Knight states that

   the trial court should have entered judgment on the jury’s answer in Question 6 rather

   than the jury’s finding in Question 7.

          If the well can be reproduced by drilling another one, the proper measure of

   damages is the cost of drilling and equipping another such well, less the value of any

   salvage; provided that this cost does not exceed the reasonable cash market value of the

   well immediately before the tubing collapse. Atex Pipe & Supply, Inc. v. Sesco Production

   Co., 736 S.W.2d 914, 917 (Tex. App. —Tyler 1987, writ den’d). If the well cannot be

   reproduced or if the cost of reproduction exceeds the value of the well, the proper

   measure of damages is the difference in the reasonable cash market value of the well, as

   equipped, immediately before and immediately after the tubing collapse. Id.

          In Question 5, the jury found that the Easterling No. 1-H well was not capable of

   being reproduced by drilling another well as it existed at the time of the occurrence in

   question. The trial court did not abuse its discretion in submitting Question 5 to the jury.

   Because the jury found the well could not be reproduced, the proper measure of damages

   is the difference in the reasonable cash market value of the well, as equipped,

   immediately before and immediately after the drill pipe failure as found by the jury in

   Question 7. See Atex Pipe & Supply, Inc. v. Sesco Production Co., 736 S.W.2d at 917.

          We overrule the fifth, sixth, and seventh issues on appeal.


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                                           CONCLUSION

          We affirm the trial court’s judgment.



                                                    JOHN E. NEILL
                                                    Justice

   Before Chief Justice Gray,
   Justice Davis, and
   Justice Neill
   (Chief Justice Gray dissents with a note)*
   Affirmed
   Opinion delivered and filed December 30, 2020
   [CV06]
   *(Chief Justice Gray dissents. A separate opinion will not issue. Chief Justice Gray notes,
   however, that prior to the jury trial the trial court granted a motion for summary
   judgment on the affirmative defenses of indemnity and release. The basis of the motion
   was that the person who had the authority to order and accept delivery of the pipe for
   Rippy did not have the authority to accept the terms and conditions on the delivery
   ticket. The question thus framed was the scope of the agency; was he a "company man"
   or was he merely a "job superintendent" with no real authority to contract on behalf of
   the company. Chief Justice Gray believes that Rippy did not conclusively prove through
   summary judgment evidence that the well consultants did not have that limitation on
   their authority. The evidence established that they had the authority to agree to the terms
   necessary to order equipment and accept delivery on behalf of the company. At the very
   least the scope of the agency was disputed. Moreover, because the evidence regarding
   these defenses also impacts the reasonableness of the reliance on the representation of
   Knight, the evidence of the defenses has evidentiary implications on the reasonableness
   of Rippy's reliance upon the representations of Knight as to the quality/condition of the
   pipe that was delivered, thus potentially impacting the jury findings on the elements of
   Rippy's claims. Therefore, in fairness, a new trial is warranted which is not limited to the
   affirmative defenses. Because the Court affirms the trial court's judgment, Chief Justice
   Gray respectfully dissents.)




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                                 COURT OF APPEALS
                                   TENTH DISTRICT OF TEXAS

                                           November 10, 2021

                                          No. 10-18-00284-CV

                                 KNIGHT OIL TOOLS, INC.

                                                    v.

    RIPPY OIL COMPANY, RIPPY INTEREST LLC, THE GENECOV
              GROUP, INC., AND JOHN D. PROCTOR

                                      From the 278th District Court
                                           Leon County, Texas
                                        Trial Court No. O-10-498


                                          JUDGMENT

          This Court has reviewed the briefs of the parties and the record in this proceeding as
  relevant to the issues raised and finds no reversible error is presented. Accordingly, the trial court's
  judgment signed on June 4, 2018, is affirmed.
          It is further ordered that Rippy Oil Company, is awarded judgment against Knight Oil
  Tools, Inc. for Rippy Oil Company's appellate costs that were paid, if any, by Rippy Oil Company;
  and all unpaid appellate court costs, if any, are taxed against Knight Oil Tools, Inc.
          A copy of this judgment will be certified by the Clerk of this Court and delivered to the
  trial court clerk for enforcement.

                                                          PER CURIAM

                                                          Nita Whitener, Clerk


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                        IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

   AIG SPECIALTY INSURANCE                    §       NO: 6:21-CV-04191-RRS-CBW
   COMPANY (f/k/a CHARTIS                     §
   SPECIALTY INSURANCE                        §       JUDGE ROBERT S SUMMERHAYS
   COMPANY                                    §
                                              §       MAG. CAROL B WHITEHURST
                                              §
                                              §
   v.                                         §
                                              §
   KNIGHT OIL TOOLS, INC.                     §
                                              §
                                              §
                                              §



        ACE AMERICAN INSURANCE COMPANY’S MEMORANDUM IN SUPPORT OF
             MOTION FOR LEAVE TO FILE COMPLAINT-IN-INTERVENTION


          ACE American Insurance Company (“ACE”) submits this memorandum in support of its

   Motion for Leave to File Complaint-in-Intervention for Declaratory Judgment Pursuant to 28

   U.S.C. §§ 2201, 2202, in the Declaratory Judgment Action filed by AIG Specialty Insurance

   Company (f/k/a Chartis Specialty Insurance Company) (“ASIC”) against Knight Oil Tools, Inc.

   (“KOT”) under Civil Action No. 6:21-CV-04191-RRS-CBW. For the reasons discussed below,

   ACE submits that is should be permitted to intervene under Fed. R. Civ. Pro. 24(b)(1)(B) given

   the existence of common issues of law and fact present in ASIC’s Complaint for Declaratory

   Judgment and ACE’s proposed Complaint-in-Intervention.

   I.     Procedural Background

          On December 7, 2021, ASIC filed its Declaratory Judgment action in matter number 21-

   4191, seeking a determination of coverage under its Commercial Umbrella Liability Policy issued


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   to KOT for claims arising out of an incident on or about May 11, 2010, and the judgment rendered

   in favor of Rippy Oil Company (“Rippy Oil”) against KOT in an underlying Texas state court

   action. [Rec. Doc. 1]. On January 18, 2022, Rippy Oil filed a motion to dismiss ASIC’s Declaratory

   Judgement, or alternatively, to intervene pursuant to Fed. R. Civ. Proc. 24, arguing inter alia, that

   there was no case or controversy between ASIC and KOT. [R. Doc. 13]. ASIC filed a Motion to

   Strike Rippy Oil’s Motion to Dismiss on February 1, 2022, [R. Doc. 15], in response to which this

   Court issued a Notice of Motion Setting on February 2, 2022. [R. Doc. 16].

          Because there are common questions of law or fact regarding potential coverage under

   ACE’s own policy issued to KOT, General Liability Policy No. HDO G24940214 (“Policy”), ACE

   seeks leave to intervene as an interested party in the disposition of this action. ACE requests a

   declaration of whether ACE has coverage or any obligation to indemnify or defend KOT under

   the Policy.

   II.    Law and Argument

          Federal Rule of Civil Procedure 24 establishes the rules for interventions of right and

   permissive interventions. A party has a right to intervene when that party “claims an interest

   relating to the property or transaction that is the subject of the action, and is so situated that

   disposing of the action may as a practical matter impair or impeded the movant’s ability to protect

   its interest, unless existing parties adequately represent that interest.” Fed. R. Civ. Pro. 24(a)(2).

   Rule 24 alternatively enables a party who “has a claim or defense that shares with the main action

   a common question of law or fact” to permissively intervene. Fed. R. Civ. Pro. 24(b)(1)(B). ACE

   submits that is satisfies the requirements of Rule 24(b)(1)(B).

          Permissive interventions are discretionary; however, such interventions are appropriate

   where – as here – the movant’s claim and the main action present common issues of law and fact.



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   Trans Chemical Ltd. v. China Nat. Machinery Import and Export Corp., 332 F.3d 815, 824 (5th

   Cir. 2003). Whether a common question exists should be construed liberally. Miller v. Amusement

   Enterprises, Inc., 426 F.2d 534, 537 (5th Cir. 1970) (“[T]he right of intervention . . . is ordinarily

   accorded under liberalized circumstances.”); see also Bureerong v. Uvawas, 167 F.R.D. 83, 96

   (C.D. Ca. 1996) (“The existence of a ‘common question’ should be liberally construed.”). If there

   is a common issue of law or fact, then the court must exercise discretion in determining whether

   to allow the intervention to proceed. Graham v. Evangeline Parish Sch. Bd., 223 F.R.D. 407 (W.D.

   La. 9/1/04). In exercising that discretion, consideration must be given to whether the intervention

   will prejudice the rights of the original parties to the action. Fed. R. Civ. Pro. 24(b)(3).

           Here, there are common issues of both law and fact, and ACE’s intervention does not

   prejudice the original parties’ rights. Specifically, ASIC seeks a declaration that it has no coverage

   obligation to its named insured, KOT, in connection with an underlying lawsuit. In support of its

   declaratory judgment action, ASIC submits that certain terms, conditions, limitations, and

   exclusions in its commercial umbrella liability policy preclude coverage. These exclusions include,

   inter alia: (1) Damage to Impaired Property or Property Not Physically Injured; (2) Expected or

   Intended Injury; and (3) Architects and Engineers Professional Liability Exclusion. ACE also

   issued a commercial general liability policy to KOT, containing exclusions for Damage to

   Impaired Property or Property Not Physically Injured, Expected or Intended Injury, as well as an

   Architects and Engineers Professional Liability Exclusion. The referenced provisions in ACE’s

   policy are similar to those in ASIC’s policy, and the evidence to consider in applying these policy

   provisions is the same. Therefore, both the facts and the law are common to claims under both

   policies.

           In Hanover Ins. Co. v. Superior Labor Servs., the Eastern District of Louisiana granted the



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   permissive intervention of an insurer under almost the exact same scenario as the one before this

   Court. 170 F. Supp. 3d 656. In Hanover, a common insurer to Masse Contracting, Inc., (“Masse”)

   and Allied Shipyards, Inc. (“Allied”), filed a declaratory judgment seeking a declaration of no

   coverage under its policy for claims asserted against Masse and Allied in an underlying personal

   injury action. Id. at 665. Hanover Insurance Company, also an insurer of Masse, sought to

   intervene in the action, seeking judgment declaring that it had no obligation to defend or indemnify

   Masse in the underlying lawsuits. Id. Crucially, the policies issued by both insurers in Hanover

   contained substantially similar exclusions. Id.

          After examining a similar case in which the District Court of Maryland allowed permissive

   intervention on largely similar grounds, the court in Hanover found “that judicial economy will be

   served by allowing Hanover to intervene in this action and that allowing Hanover’s claim in

   intervention to proceed will not unduly delay or prejudice any parties.” Id. at 667; see also

   Pennsylvania Nat. Mutual Cas. Ins. Co. v. Perlberg, 268 F.R.D. 218, 226 (D. Md. 2010). In

   reaching this conclusion, the court in Hanover noted that the “material factual disputes will most

   certainly overlap and the legal issues surrounding the application of the . . . exclusions in the

   policies will be substantially similar.” Id. at 668. The court also concluded that “[i]ntervention will

   avoid a competing action in state court and will avoid inconsistent results on these disputed issues.”

   Id.

          Similarly, the proposed intervention by ACE in ASIC’s declaratory judgment action also

   involves overlapping “material factual disputes” and “substantially similar” exclusions.

   Considering that ACE’s policy was issued to KOT for the same policy period as ASIC’s umbrella

   policy, the fact that both policies contain similar policy language, and that potential coverage under

   ACE’s and ASIC’s policies arise out of the same underlying litigation, this Court should allow



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   ACE’s intervention to proceed as the Eastern District of Louisiana did in Hanover.

          Finally, ACE submits that permitting this intervention to proceed is the most efficient use

   of judicial resources, will avoid duplicity of proceedings, ensure consistency and finality of

   outcomes for similarly situated parties, and promote procedural and substantial due process.

   Accordingly, ACE respectfully requests that it be allowed to proceed with its intervention.

                                                         Respectfully submitted,

                                                         BROWN SIMS, PC


                                                BY: /s/ Thear J. Lemoine
                                                   Thear J. Lemoine (# 26383)
                                                   Gregory M. Burts (#39133)
                                                   1100 Poydras St., 39th Floor
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                                                   gburts@brownsims.com
                                                       Attorneys for ACE American Insurance
                                                       Company




                                       CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing pleading has been served on all counsel of

   record by the court’s electronic notification system, or by fax, email, United States Mail (postage

   prepaid) and/or hand delivery on February 10, 2022.

                                                         /s/ Thear J. Lemoine ___
                                                         Thear J. Lemoine




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                         IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

   AIG SPECIALTY INSURANCE                        §    NO: 6:21-CV-04191-RRS-CBW
   COMPANY (f/k/a CHARTIS                         §
   SPECIALTY INSURANCE                            §    JUDGE ROBERT S SUMMERHAYS
   COMPANY                                        §
                                                  §    MAG. CAROL B WHITEHURST
                                                  §
                                                  §
   v.                                             §
                                                  §
   KNIGHT OIL TOOLS, INC.                         §
                                                  §
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                                               ORDER


          Considering the Motion for Leave to File Complaint-in-Intervention of ACE American

   Insurance Company:

          IT IS HEREBY ORDERED that the Motion is GRANTED, and ACE American

   Insurance Company is granted leave to file its Complaint-in-Intervention against Knight Oil Tools,

   Inc. The clerk is instructed to accept the Complaint-in-Intervention for filing and to issue all

   appropriate process forthwith.

          Lafayette, Louisiana, this     day of                , 2022.




                                       UNITED STATES DISTRICT JUDGE
